      Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 1 of 84



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                     IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH


 UNITED STATES OF AMERICA,               AMENDED MOTION TO REVOKE
                                         MAGISTRATE JUDGE’S
        Plaintiff,                       DETENTION ORDER AND FOR
                                         EXPEDITED STAY OF ORDER
 v.                                      AND IMMEDIATE RELEASE

 CLAUD R. KOERBER,
                                                 2:17-cr-00037-FB-PMW
        Defendant.

                                           District Court Judge Frederic Block
                                            Magistrate Judge Paul M. Warner


        Pursuant to 18 U.S.C. § 3145(b), and both the Fifth and Eighth Amendments

to the United States Constitution, Defendant Claud R. Koerber submits this amended
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 2 of 84



 motion and moves the Court to revoke Magistrate Judge Warner’s May 31, 2019

 detention order. Mr. Koerber also moves for an expedited order immediately staying

 the Magistrate Judge’s detention order and releasing Mr. Koerber from custody

 immediately, pending resolution of this motion.

                                     OVERVIEW

        After 10 years of Mr. Koerber being on release under the provisions of the

 Bail Reform Act under exceptionally minimal conditions, on personal recognizance

 and without incident; on May 31, 2019 the government alleged for the first time that

 Mr. Koerber had violated his release conditions. The alleged violation occurred,

 according to prosecutors, when Mr. Koerber issued a run of the mill business receipt,

 to an attorney, on March 2, 2019 for $209.35. The receipt was for document delivery

 services in an unrelated Oregon civil matter, and the attorney is licensed and in good

 standing, in both Oregon and Utah. The attorney, Mr. J. Morgan Philpot, testified that

 the $209 receipt was true and accurate. No other witness testified to having firsthand

 knowledge of the transaction.

        But, relying on “documents, as described by the government”1 rather than Mr.

 Philpot’s testimony, Magistrate Judge Paul M. Warner found that Mr. Koerber had

 violated his release conditions. Then, Magistrate Judge Warner found that Mr.

 Koerber presented a danger to the community based on government proffers related

 to a few civil disputes Mr. Koerber had with landlords more than seven years ago,


11
  May 31, 2019 Hearing Transcript, at p. 138 (Attached to the memorandum of law and
authority filed herewith, as “Exhibit 1.”)
                                             ii
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 3 of 84



and two unrelated civil legal proceedings from back in 2014 and 2016, Magistrate

Judge Warner effectively overruled seven prior Bail Reform Act decisions made by

three different Magistrate Judges and two different District Court Judges in this case

(the most recent three decisions post-date all of the proffered incidents raised by the

government for the first time on May 31). Magistrate Judge Warner, therefore,

ordered Mr. Koerber incarcerated.

       Almost four months later, it is now beyond reasonable question that the

evidence and core allegations relied upon by the government and by Magistrate Judge

Warner - are meritless. It is now also apparent that Magistrate Judge Warner relied

upon falsehoods advanced by the Peterkin law firm (the Oregon source of hearsay

allegations presented by the government) and a reckless disregard for the truth by

prosecutors in this case who based their central explanation for how Mr. Koerber

allegedly violated his release conditions upon information prosecutors knew, or

reasonably should have known, was false and misleading.

       Mr. Koerber did not violate his release conditions, and this Court should

correct the injustice that occurred on May 31.



                              REQUEST FOR RELIEF

       First, pursuant to 18 U.S.C. § 3145(b), and both the Fifth and Eighth

Amendments to the United States Constitution, Mr. Koerber moves for revocation of




                                            iii
        Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 4 of 84



    Magistrate Judge Warner’s May 31, 2019 detention order.2 As a matter of law, Mr.

    Koerber is entitled to this review. The Court’s consideration of this detention issue

    must be “de novo” including consideration of new evidence provided since the May

    31 hearing, and “showing no deference to any” of Magistrate Warner’s prior

    “findings or conclusions.” United States v. Cisneros, 328 F.3d 610, 616 n.1 (10th Cir.

    2003); United States v. Taylor, 2012 U.S. Dist. LEXIS 144199. See also

    DUCrimR57-16(a)(1).

           Second, Mr. Koerber also moves to immediately stay Magistrate Judge

    Warner’s detention order and for an expedited order granting Mr. Koerber’s release

    today, pending the full resolution of this motion.

                                 GROUNDS FOR RELIEF

           Mr. Koerber’s present incarceration under Magistrate Judge Warner’s

    detention order is unjust, and as explained in the supporting memorandum filed

    herewith, it is both factually and legally unsupportable. In this context, immediate

    release is particularly appropriate when a judicial officer has made probable cause

    findings based upon the government’s “knowingly” submitted false statements, or

    statements submitted “with reckless disregard for the truth” or when prosecutors have

    “knowingly or recklessly omit[ted] … information which, if included, would have



2
  Magistrate Judge Warner previously made an express invitation that this detention
matter be revisited within three or four weeks; yet despite the government’s recent
inability to rebut arguments which undermine the core facts relied upon by both the
government and Magistrate Judge Warner on May 31, and Mr. Koerber’s proposal of five
new conditions of release, he declined to revisit any of his prior findings or conclusions.
                                                iv
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 5 of 84



vitiated probable cause[.]” Wolford v. Lasater, 78 F.3d 484, 489 (10th Cir. 1996);

Jones v. City and County of Denver, 854 F.2d 1206, 1210 (10th Cir. 1988). See also

DeLoach v. Bevers, 922 F.2d. 618, 622 (10th Cir. 1990) (“Recklessness may be

inferred from omissions of facts which are ‘clearly critical’ to a finding of probable

cause.”)

       Based upon the timing and circumstances, Mr. Koerber is scheduled to be

sentenced on October 15, 2019. Mr. Koerber’s release prior to sentencing is essential

to avoid additional irreparable harm to his preparations and work with his attorneys

in advance of the sentencing memorandum and the sentencing hearing itself.

       If Mr. Koerber is not released prior to sentencing, under the relevant rules he

will be required to file a new separate motion for release pending appeal, pursuant to

18 U.S.C. § 3143. Given the significant overlap of the facts, law and circumstances

that will have to be considered by the Court in this motion and in any future motion

under § 3143 for release pending appeal – it will promote judicial economy and

vindicate Mr. Koerber’s rights, to release him immediately while the Court fully

resolves the other issues raised herein. Releasing Mr. Koerber immediately avoids

additional irreparable prejudice to Mr. Koerber and his ability to defend himself at

sentencing and in advance of his appeal – which is of heightened significance given

that the Tenth Circuit has already upheld the district court’s prior findings of

significant prejudice to Mr. Koerber caused by a pattern of prosecutorial misconduct




                                            v
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 6 of 84



and government violation of federal statutes. See United States v. Koerber, 813 F.3d

1262, 1285 (10th Cir. 2016).

       Magistrate Judge Warner’s finding that Mr. Koerber presents a danger to the

community sufficient to justify incarceration is invalid under both Tenth Circuit

precedent requiring that a finding of “dangerousness” relate to the possibility of

future illegal conduct not merely conduct deemed suspicious by the government

(United States v. Cook, 880 F.2d 1158, 1161 (10th Cir. 1989)) and Supreme Court

precedent instructing that under the Eighth Amendment, the denial of release on

dangerousness grounds must be for only the most serious of risks (Sellers v. United

States, 89 S. Ct. 36, 38 (1968) (“The idea that it would be “dangerous” in general to

allow the applicant to be at large must...relate to some kind of danger that so

jeopardizes the public that the only way to protect against it would be to keep the

applicant in jail.”)).

                                  CONCLUSION

       Given that Mr. Koerber had a lawful expectation of liberty provided by the

Bail Reform Act and protected by the due process clause of the Fifth Amendment at

the time of the May 31 hearing (see United States v. Abuhamra, 389 F.3d 309, 319

(2nd Cir. 2004)) and that his current incarceration is untenable under related Eighth

Amendment guarantees, it would be patently unjust to require Mr. Koerber to remain

incarcerated while this Court fully decides this § 3145(b) motion.




                                           vi
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 7 of 84



      Mr. Koerber has no other meaningful or more timely remedy. Therefore, Mr.

Koerber requests both an immediate stay of Magistrate Judge Warner’s detention

order (so that he can be released today), and that the detention order be revoked

pursuant to 18 U.S.C. § 3145(b).




                                        vii
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 8 of 84



                           ARGUMENTS AND AUTHORITY




                                     INTRODUCTION

       During the first substantive hearing presided over by this Honorable Court, the

Court recognized the unique circumstances of this “unusual” case after, inter alia, every

available federal judge in the District of Utah had recused or declined to preside, stating on

the record:

       Let me cut to the chase. It may well be that the 10th Circuit is going to bounce
       this case if there is a conviction…I think there’s a real chance that the Circuit
       Court can toss this case…[a]nd it may well be that the 10th Circuit will agree
       that it should be reversed for any number of reasons[.]

Hearing Transcript, May 7, 2018, Doc. 380 at pp. 38,40, 42. 3 When the defense expressed

concern that proceeding with a second trial would expose Mr. Koerber to the possibility of

incarceration upon conviction, even though the conviction realistically might be viewed as




3
  Hearing Transcript, May 7, 2018, Doc. 380 at p. 46. The unusual circumstances of this
case include that the case has spanned a decade; Mr. Koerber’s longtime defense attorney
was removed from the case, without explanation and against Mr. Koerber’s wishes after a
first jury trial ended with a hung jury; and where federal District Court Judge Clark
Waddoups has found “significant problems with the substantive prosecution” of this case
including “a pattern of widespread and continuous misconduct” by prosecutors that
“began even before the original indictment” and ultimately “undermine[d] Defendant’s
possibility of receiving a fair trial.” See Case No. 2:09-CR-302, Doc 472 at pp. 11, 15.
After the Court of Appeals affirmed the district court’s findings of widespread
prosecutorial misconduct and prejudice to Mr. Koerber, see United States v. Koerber, 813
F.3d 1262, 1278, 1281, 1283 (10th Cir. 2016), Judge Waddoups recused and the newly
assigned judges (Judge Parrish and Judge Shelby who also both later recused) and the
newly assigned Magistrate Judge (Warner), all declined to acknowledge or address that
prosecutorial misconduct had played any part in this case.
                                             viii
        Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 9 of 84



invalid and unlawful by the Court of Appeals, Your Honor responded, “Not necessarily.”

Id., at p. 45. A long colloquy then followed, where Your Honor ultimately concluded,

         Look, he’s been out a long time…I’ll tell you right now…I’m not going to
         put him in jail pending appeal…There’s no situation that I can conjure up
         where he should be in jail pending a legitimate appeal when there is a
         legitimate chance you have that you have a meritorious appeal…I do think
         your client [deserves] some kind of comfort level in light of this kind of
         unusual case...[and] [y]ou need to have something definite from me…We’re
         not going to put him in jail, so I’m giving you very definite information about
         it right now.
Id., at pp. 46, 49.

         Mr. Koerber was convicted on September 20, 2018. Consistent with the Court’s

prior ruling and the multiple prior instances when Mr. Koerber was evaluated for and

granted release, Your Honor allowed him to remain on release post-conviction pursuant to

18 U.S.C. § 3143.

         The government did not object to Mr. Koerber’s post-conviction release, nor did it

object to any of the prior release decisions made over the last decade.4 Yet, after 9 years,

11 months and 12 days of release without incident, on May 31, 2019 the government went

to great lengths to see Mr. Koerber incarcerated despite this Court’s prior assurances. As

explained in detail below, prosecutors misled Magistrate Judge Warner to accomplish this

goal.




4
    See attached Appendix J
                                               ix
        Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 10 of 84



                                               TABLE OF CONTENTS

OVERVIEW ........................................................................................................................ ii
REQUEST FOR RELIEF ................................................................................................... iii
GROUNDS FOR RELIEF ................................................................................................. iv
INTRODUCTION ............................................................................................................ viii
ARGUMENT....................................................................................................................... 6
   I.     Mr. Koerber Did Not Violate His Release Conditions ........................................ 6
        A. The Gov't Theory of a Release Violation Was False and Misleading. ................. 8
        B. No Remaining Basis to Question the $209, March 2 Receipt ............................ 15
        C. No Probable Cause for any of the Misdemeanor Statutes .................................. 17
   II. Magistrate Judge Warner’s Dangerousness Finding is Legally Invalid ......... 19
        A. Dangerousness is Factually Unsupported in Each Instance. .............................. 20
        B. Magistrate Judge Warner Misapplied the Dangerousness Factor ...................... 25
          1. “Pattern of Deception” Does Not Support a Financial Dangerousness Risk. .. 26
          2. “Pattern of Deception” is Incompatible with Tenth Circuit Precedent. ........... 27
          3. “Pattern of Deception” Finding is Invalid Under the Eighth Amendment. ....... 28
          4. Finding of Dangerousness is Not Based Upon Any Significant Risk ................. 29
        C. Wrong Burden of Proof and Error Applying a Presumption of Detention......... 31
        D. The 3142(g) Factors Support Mr. Koerber’s Immediate Release ...................... 33
CONCLUSION ................................................................................................................. 35
APPENDIX A thru L ……………………………………………………….………                                                                                     37




                                                                 x
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 11 of 84




                               PROCEDURAL HISTORY



       Sentencing was last scheduled in this matter for May 13, 2019. Mr. Koerber had

been on release for eight months following trial, without incident. Then the Court granted

Mr. Koerber’s request for an evidentiary hearing, prior to sentencing, because Mr. Koerber

was challenging the method used by the government to calculate and exaggerate loss

amount. The defense was also challenging the number of alleged victims prior to

sentencing. In the PSR and in subsequent communications, prosecutors claimed to have

evidence of 100, then 250 and most recently 600 alleged victims that it wanted the Court

to consider for sentencing. Prosecutors had also included in the government’s loss

calculation multiple alleged victims who have testified that they suffered no pecuniary loss.

As a result, the Court granted an evidentiary hearing.

       Because of Mr. Koerber’s subsequent detention, Mr. Koerber was unable to

participate effectively in the highly detailed and extensive preparations necessary for the

evidentiary hearing. However, defense counsel worked diligently with their expert

witness and engaged in critical negotiations with the government relating to loss amount

and number of victims. The government and defense counsel reached agreements that

vitiated the need for a contested hearing and advised the Court on May 13, during a status

conference. The government stipulated that it would attempt to prove approximately 34

victims for sentencing purposes.



                                        Page 1 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 12 of 84



       A week later on May 22, U.S. Pretrial Services officer Annie Carr filed a petition

alleging that Mr. Koerber had violated his release conditions. Ms. Carr’s petition did not

explain the alleged release violation. The Magistrate Judge then issued a warrant for Mr.

Koerber’s arrest.

       On May 28, Ms. Carr filed an amended petition that still did not explain the alleged

release violation but did summarily list four misdemeanor statutes.

       On May 29, prosecutors filed a supporting legal brief that explained for the first

time that the alleged release violation occurred when Mr. Koerber issued a $209.35 receipt,

on March 2, 2019, to attorney J. Morgan Philpot. See Doc. 584.5 The receipt related to the

dispatch of appeal documents for an unrelated civil case in Oregon (Fryberger v. Edwards).

Alternatively, the government argued that Mr. Koerber, on March 6, improperly answered

a question while completing an on-line registration form for Corvus Administration and

Management, LLC (“Corvus”). As directed by Magistrate Judge Warner, the Marshals did

not arrest Mr. Koerber until – as arranged – Mr. Koerber self-surrendered.

       On Friday, May 31, 2019, Magistrate Judge Warner conducted a hearing on the

alleged release violation with Mr. Koerber in leg irons, a belly chain and handcuffs during

the entire proceeding.

       The government’s presentation focused on two documents: (1) the $209, March 2

receipt provided by Mr. Koerber, on behalf of Corvus, to attorney Morgan Philpot; and (2)


5
  Since approximately 2012 Mr. Koerber has built a career offering contact services to
lawyers and law firms. Mr. Koerber works for a company owned by his family members,
Corvus Administration and Management, LLC as the business manager and contract
paralegal (providing legal research, legal writing, and trial support for attorneys).
                                       Page 2 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 13 of 84



the March 6, 2019 business re-registration application forms submitted to the Utah

Department of Commerce. The government’s single argument was that Mr. Koerber

violated his release conditions because “Mr. Koerber lied.” Id. at p. 133 lines 5-11.

       Koerber prepared a receipt…showing Corvus accepted money…on March 2,
       2019, but declared to the Utah Department of Commerce that Corvus would
       start doing business on March 6, 2019. Both cannot be true. Either Koerber
       violated Utah Code § 76-6-504…when he created the Corvus [d]ispatch
       [r]eciept of March 2, 2019, or he violated U.C.A. § 78-8-504…when he
       completed the One Stop Business Registration and indicated Corvus would
       begin doing business on March 6, 2019.

Doc. 584 at p. 4. Mr. Koerber denied having violated his conditions of release and presented

witnesses and exhibits to establish that the March 2 receipt was accurate, and that he had

accurately and appropriately completed the Department of Commerce on-line form.

       Nevertheless, preferring the government’s explanation of the documents6 over Mr.

Koerber’s witnesses, the Magistrate Judge ruled that “a violation has occurred.” May 31,

2019 Hearing Transcript attached as Exhibit 1 (“Ex. 1”) at p. 139 lines 18-20. But, in

explaining his conclusion, Magistrate Judge Warner declined to find probable cause that

Mr. Koerber had actually violated any of the four alleged misdemeanor statutes. Instead,

he found “not an attempt to violate the law per se” but a “potential violation” related to the

March 2, 2019 receipt. Specifically, Judge Warner explained:

       That’s why I found that there’s probable cause to believe there was
       deception, that there was an attempt - - not an attempt per se to violate the
       law, but, in essence, an attempt to deceive, which was in-fact a potential
       violation. I don’t know.


6
  May 31, 2019 Hearing Transcript attached as Exhibit 1 at p. 138 (Giving “great weight
to the documents themselves” and finding “the documents, as described by the
government, to be sufficient to meet the burden.”).
                                        Page 3 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 14 of 84



Id. at p. 164, lines 9-14. See also p. 163, lines 7-8. (“I think the document may or may not

have been backdated.”)7

       When Mr. Koerber inquired how this finding constituted probable cause to conclude

that one of the alleged misdemeanor crimes had been committed (required by 18 U.S.C. §

3148(b)), Magistrate Judge Warner again declined to tether his probable cause finding to a

statutory violation claiming:

       [I]n over thirteen years on the bench, this court has made probable cause
       determinations on hundreds of warrants and other related matters…this court
       may not be able to precisely define probable cause, but this court knows it
       when it sees it[.]8

Doc. 624 at p. 5. As argued below, this approach by Magistrate Judge Warner was legally

and factually untenable. The law does not support an unexplainable, subjective basis for a

judge’s probable cause finding. “Probable Cause is measured against an objective

standard.” United States v. Valenzuela, 365 F.3d 892, 896 (10th Cir. 2004). “[T]he relevant

question is whether a ‘substantial probability’ exist[s] that the suspect committed the

crime[.]” Felders v. Malcom, 755 F.3d 870, 879 (10th Cir. 2014) (Emphasis added).




7
  The relevant provision of the Bail Reform Act requires that any probable cause finding
be directly tethered to “probable cause to believe that the person has committed a
Federal, State, or local crime while on release”, 18 U.S.C. § 3148(b)(1)(A), not merely
conduct that a judicial officer finds objectionable or suspicious.
8
  Prior to his current position, Magistrate Judge Warner was the United States Attorney
for the District of Utah when the joint state/federal investigation of Mr. Koerber and his
businesses was first authorized. See United States v. Koerber, 966 F. Supp. 2d 1207, 1214
(D. Utah 2013) (“The allegations against Defendant were the focus of a joint
investigation and prosecution among the DOJ, the Utah Division of Securities, the FBI,
and the IRS that had been in motion in one form or another since 2005” which overlaps
Magistrate Judge Warner’s service as the United States Attorney).
                                        Page 4 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 15 of 84



       Following Magistrate Judge Warner’s finding that a release violation had occurred,

he proceeded to conduct a revocation hearing. Prosecutors then argued that Mr. Koerber’s

continued release would endanger the safety of the community based on accusations

relating to two civil court disputes Mr. Koerber had with landlords more than seven years

ago, and two additional unrelated legal proceedings back in 2014 and 2016.              The

government had not included any of these allegations in their written submission, and did

not provide any evidence to support these allegations at the hearing. See Doc. 584. Mr.

Koerber objected and denied these allegations of dangerousness.

       Nevertheless, relying on these bare proffers by prosecutors, Magistrate Judge

Warner effectively overruled seven prior Bail Reform Act decisions made by three

different Magistrate Judges and two different District Court Judges in this case (the most

recent three decisions post-date all of the incidents of alleged dangerousness raised by the

government for the first time on May 31) and concluded that Mr. Koerber’s continued

release would present a “danger to the community” based on a “pattern of deception”, a

“financial danger” making him an unmanageable candidate for release. Ex. 1 at p. 164.

       On August 20, 2019, Magistrate Judge Warner issued an order (Doc. No. 624)

denying Mr. Koerber’s request for reconsideration, although Mr. Koerber had informed the

court of substantial new exculpatory evidence demonstrating a reckless disregard for the

truth by prosecutors, who were unable to rebut that the government’s central explanation

for how Mr. Koerber allegedly violated his release conditions was based upon information

the government knew, or reasonably should have known, was false and misleading.



                                        Page 5 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 16 of 84



Magistrate Judge Warner declined to review or comment on the evidence and these new

developments.

       Mr. Koerber has been incarcerated since May 31, 2019.

                                        ARGUMENT

       Magistrate Judge Warner’s detention ruling is factually and legally untenable. As

outlined below, Magistrate Judge Warner’s factual conclusions are clearly in error, and his

detention order is the result of multiple legal errors.

       I.     Mr. Koerber Did Not Violate His Release Conditions

       The question presented at the May 31 hearing was whether Mr. Koerber violated

any condition of release and if so, whether his release should be revoked as a sanction for

the violation. See 18 U.S.C. § 3148; see also Ex. 1 at p. 10.

       No firsthand witnesses were presented by the government at the May 31 hearing.

The government’s only witness, Ms. Carr, testified that she based her petition on third-

party provided documents and “nothing else.”9 See Ex. 1 at p. 34. Magistrate Judge Warner

also adopted the government argument and position by giving “great weight to the

documents themselves” and finding “the documents, as described by the government, to



9
  It appears that Magistrate Judge Warner did not have statutory authority to conduct the
May 31 hearing. Under 18 U.S.C. § 3148(b), it is the “attorney for the Government [that]
may initiate a proceeding for revocation” by filing a motion with the district court.
§ 3148(b). See also United States v. Gotti, 794 F.2d 773, 776 (2d Cir. 1986). No other
authority is granted by statute to initiate this proceeding. As such the statutory grant of
authority to the “attorney for the Government” also functions as a limit on any other
method of invoking a proceeding for revocation under § 3148. Because an attorney for
the government did not initiate the proceeding on May 31 the court has legal grounds to
revoke Magistrate Judge Warner’s detention order.
                                         Page 6 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 17 of 84



be sufficient to meet the [government’s] burden.” Id. at p. 138.

       The government’s reasoning, adopted by Magistrate Judge Warner, was that on

March 6, 2019, Mr. Koerber completed an online form to re-register Corvus with the State

of Utah. In doing so, he was required to answer a question that asks, “What is the date that

you will start or did start doing business?” Mr. Koerber answered “March 6, 2019.” The

government argued if Mr. Koerber was telling the truth on this form, then Corvus was not

doing business on March 2. This is significant, according to the government, because Mr.

Koerber had issued a $209 business receipt to attorney Morgan Philpot dated March 2. The

receipt was for dispatch of appeal documents in an unrelated Oregon civil matter

(Fryberger v. Edwards).     According to the government, Mr. Koerber’s use of the date

March 6 when registering Corvus creates a reasonable inference that the receipt he gave

Mr. Philpot was not actually issued on March 2. This is also the inference directly relied

upon by Magistrate Judge Warner. See Ex. 1 at p. 10 p. 163, lines 7-8. (“I think the

document may or may not have been backdated.”)

       Alternatively, the government speculated that if the Corvus receipt was accurate,

and in-fact issued on March 2, then on March 6 when Mr. Koerber answered the online

registration form question indicating that Corvus “will start or did start doing business” on

March 6, 2019 – this statement was false since Corvus was doing business on March 2.

Either way according to the government, Mr. Koerber “lied” and the lie somehow

constitutes a misdemeanor offense. See Doc. 584 at p. 4 (“Both of these things cannot be

true, and either way, one of those lies has violated Utah statutes.”)

       The government’s description of the documents appears simple enough, but it is

                                        Page 7 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 18 of 84



false, and prosecutors misled Magistrate Judge Warner by omitting and failing to disclose

materially exculpatory information. This is significant because “‘the totality of the

evidence’ must be considered and the court ‘must not ignore…exculpatory evidence in

order to find probable cause.” Felders, 755 F.3d at 879-83.

         Because Mr. Koerber is moving for revocation of Magistrate Judge Warner’s order

pursuant to 18 U.S.C. § 3145, the Court is required to make its own factual findings and

determination on whether probable cause exists that Mr. Koerber committed a crime while

on release, with no deference to Magistrate Judge Warner’s findings or conclusions. “[I]n

so doing the Court may elect to start from scratch and take evidence…and also may

incorporate the record of the proceedings conducted by the Magistrate Judge, including

any exhibits.” United States v. Tayler, 2012 U.S. Dist. LEXIS 144199 (Utah District Court,

2012).

             A.   The Government’s Theory of a Release Violation Was False and
                  Misleading.

         Prosecutors based their argument that Mr. Koerber committed a criminal offense

during release, on the false and misleading theory that Mr. Koerber’s answer to the

Department of Commerce’s online question was an affirmative representation that Corvus

was not conducting business or had not conducted business prior to March 6, 2019. On

May 31, AUSA Clark went even further and argued that Mr. Koerber’s answer of “March

6” on the registration form was the equivalent of promising the State of Utah that “he would

not start doing business until March 6, 2019.” Ex. 1 at p. 137.

         But despite Mr. Clark’s description and the government’s characterization of Mr.


                                        Page 8 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 19 of 84



Koerber’s answer to the online form, the government knew, or reasonably should have

known, that:

       1. The Department of Commerce (“UDOC”) requires businesses that are re-

registering on-line to answer the question – “What is the date that you will start or did start

doing business?” – with the current date, meaning the date the form is being filled out.

       2. The UDOC on-line form does not allow a business that was previously registered,

to use the historical date it started doing business, in answer to the question.

       3. The UDOC question regarding what date the business “will start or did start”

does not apply to pre-registration activity. Department of Commerce employees are trained

to explain that this question is applicable only to the newly re-registered business going

forward.

       Based on these three facts, the government knew or reasonably should have known

that Mr. Koerber’s answer on the online form was accurate and in compliance with

Department of Commerce requirements, policy, and instruction.             The government’s

argument at the hearing was not made in good faith.10 Prosecutors misled Magistrate Judge

Warner regarding 1) how the online form works, 2) what the Department of Commerce

requires in answer to the online question at issue, and 3) what the answer to this particular

question – actually means. Significantly, Ms. Francine Giani, the Executive Director of




10
 Prosecutors have a duty to investigate prior to making a criminal allegation. See Utah
Rules of Professional Conduct, Rule 3.1 and Rule 3.3; Fed. R. Civ. Pro, Rule 11.



                                         Page 9 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 20 of 84



the Utah Department of Commerce, and members of her staff working with the prosecution

- were present in the courtroom on May 31 (and interacting with prosecutors during the

hearing)11 and yet, did nothing to correct the misleading presentation and arguments made

by prosecutors.

       Investigating the government’s omission and misleading argument, following the

May 31 hearing Mr. Koerber’s wife (Jewel Franklin) contacted the Department of

Commerce directly. Below is a selection of her July 2, 2019 communications regarding

the meaning and requirement of the question put at issue by prosecutors:

       Question:               “[I]f I have a business previously registered but has been
                               expired for more than 2 years, what should I do?”

       Dept. of Commerce       “You would start completely over.” […]

       Question:               “I’m trying to re-register the business now but the form asks
                               me to select the date I started doing business, and it doesn't
                               let me cho[o]se the date it started. It won’t let me choose a
                               date before January 1, 2018. What do I do for that
                               question?”

       Dept. of Commerce       “[I]t is brand new...today is the first day you can start. […]
                               If you answer any of those questions online referencing
                               your old business, it will not work. Start new. Blank.”

       Question:               “Even though I have continued using that business for the
                               past several years? That wouldn't matter? Just register it
                               new?”

       Dept. of Commerce       “Yes. It is expired. You will get a new entity number. Brand
                               new.”

11
  Ms. Giani and the Utah Department of Commerce were identified by the government
(by then-US Attorney Tolman in May 2009) as members and participating partners of the
prosecution team in this case, and in prior hearings it has been established that Ms. Giani
had at least one staff member cross-deputized as a Special Assistant United States
Attorney to participate in this case as far back as 2008 and 2009.
                                       Page 10 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 21 of 84




Declaration of Jewel K. Franklin, attached as Exhibit 2 (“Ex. 2”) at p. 6-7 (includes

screenshots of the actual online session). Significantly, when asked how to answer the

relevant question, even if a business has been conducting business “for the past several

years,” the Department of Commerce instructs those completing the form to still use the

current date. This exchange, directly with the Department of Commerce, shows the actual

meaning of the question regarding when a newly re-registered business “did start” or “will

start” doing business; and that the government’s arguments were plainly false and

misleading.

      Because Mr. Koerber’s use of the date March 6 – on the on-line form – was not a

promise or representation that Corvus was not doing business before March 6, there is no

reason to suspect the date on the March 2 receipt. In fact, it has always been beyond

reasonable dispute that Corvus operated from 2012-to the present.          Not only did

prosecutors omit the facts related to the Department of Commerce form, but Mr. Koerber

disclosed his employment with Corvus throughout the last decade to the Pre-trial Services

Office, including to Ms. Carr in October 2018 and to Ms. Mary Schuman in February 2019

– which is why Ms. Schuman raised the registration status of Corvus in the PSR on March

4, 2019.

      Because the evidence flatly contradicts the government’s arguments and the basis

for Magistrate Judge Warner’s finding of probable cause, Mr. Koerber previously

submitted this information. See Doc. 612-1. Prosecutors subsequently effectively conceded

the points made here by omitting any reference to this evidence in the government’s

                                      Page 11 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 22 of 84



responsive filing. However, without explanation, Magistrate Judge Warner declined to

address this evidence or the fact that prosecutors had misled him on this central argument.

       When a judicial officer has made probable cause findings based upon the

government “knowingly” submitting false statements, or statements submitted “with

reckless disregard for the truth” and when prosecutors have “knowingly or recklessly

omit[ted]…information which, if included, would have vitiated probable cause”, the

probable cause finding itself is legally invalid, and the Court must act to correct the error.

Wolford v. Lasater, 78 F.3d 484, 489 (10th Cir. 1996). See also Jones v. City and County of

Denver, 854 F.2d 1206, 1210 (10th Cir. 1988); Stewart v. Donges, 915 F.2d 572, 583-84

(“[It is a] clearly established violation…to knowingly or recklessly omit…information

which, if included would have vitiated probable cause.”)

       Probable cause is vitiated “if the magistrate or judge…was misled by

information …that the affiant knew was false or would have known was false except for

his reckless disregard for the truth.” DeLoach v. Bevers, 922 F.2d. 618, 622 (10th Cir. 1990)

(“Recklessness may be inferred from omissions of facts which are ‘clearly critical’ to a

finding of probable cause.”) “A reckless disregard for the truth exists…[and] a factfinder

may infer reckless disregard from circumstances evincing ‘obvious reasons to doubt the

veracity’ of the allegations.” Id.

       Significantly, Mrs. Franklin’s July 2 communication with the Department of

Commerce is entirely consistent with the witness testimony presented by Mr. Koerber at

the May 31 hearing. Mr. Koerber presented live witness testimony from an owner of



                                        Page 12 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 23 of 84



Corvus (John Belcher) and from attorney Russell C. Skousen.12 Both of these witnesses

testified on the meaning and accuracy of Mr. Koerber’s answer to the Department of

Commerce on-line form and regarding Corvus operating continuously from 2012 thru

March 6, 2019. Or in more simple terms, Mr. Koerber’s witnesses testified that the

Department of Commerce question put at issue by prosecutors, does not mean what the

government claimed, and Mr. Koerber’s answer to that question of March 6 was true and

accurate – in context – and in line with Department of Commerce policy, instructions, and

requirements.

      Mr. Belcher testified that he was an active participant with Mr. Koerber in the re-

registration effort on both March 5 and March 6, 2019. He testified that he was with Mr.

Koerber when Mr. Koerber had tried to re-register Corvus on March 5 immediately after

Mr. Koerber saw the March 4 presentence investigation report (PSR) criticizing the fact

that Corvus’ business registration was expired. Mr. Belcher testified that the Department

of Commerce on-line form prohibited them from answering this specific question with the

date that Corvus had started doing business back in 2012. Mr. Belcher also explained that

before proceeding to answer the question they contacted the Utah Department of

Commerce and asked how to answer. He testified:

      Well, the main concern was when we tried to register the company, it
      wouldn’t let us put the date that we actually formed the company…[b]ecause
      it’s a Web form and it just puts a big red error and says you filled this out
      wrong, and try again. It only allows you to put that day’s date or a future
      date. And we asked them [the Utah Department of Commerce] how to

12
  Mr. Skousen is a former attorney for Mr. Koerber and his prior businesses, and a
current employer of Corvus’ services. He is also the former Executive Director of the
Utah Department of Commerce.
                                      Page 13 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 24 of 84



       proceed…[t]hey said put today’s date. It happens all the time. It’s fairly
       normal. You know, the old company, we’ve got it in our system, and that’s
       how it’s always done.”

Id., at p. 68 lines 4-15. This explanation by Mr. Belcher has now been directly

corroborated by the Department of Commerce conversation with Mrs. Franklin on July 2.

See Ex 2. Prosecutors and Utah Department of Commerce leaders and staff heard Mr.

Belcher’s testimony and nevertheless continued to omit what they knew and to persist in

misleading Magistrate Judge Warner.

       Mr. Skousen testified that based upon his experience as the former Executive

Director of the Utah Department of Commerce and as a private practicing attorney, this

kind of circumstance happens “[v]ery often”, id., at p. 78, that a business can re-register

and before it does, the unregistered status doesn’t effect a company’s “ability to do

business”, id., at p. 79, all that is required is that the business re-register and re-form a “new

entity that has a new entity number” and the business activities taking place prior to the

date of re-registration are legitimate; but they “do not enjoy the protection” of limited

liability, id., at p. 79 (meaning that the business principals are personally exposed if a

lawsuit should arise). Mr. Skousen also testified that his law firm had used Corvus from

2015 forward despite the expired registration, and that Mr. Koerber’s services were “[q]uite

reliable.” Id., at p. 85.

       Despite the testimony of Mr. Belcher and Mr. Skousen (which as now been

confirmed as accurate and correct with regard to Department of Commerce policy and

requirements), Magistrate Judge Warner chose to rely on “the documents, as described by

the government[.]” Id., at p. 138. But, a court “may not engage in a ‘divide and conquer’

                                          Page 14 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 25 of 84



analysis of the facts to determine whether probable cause exist[s]”, Valenzuela, 365 F.3d

at 896 (citing U.S. v. Arvizu, 534 U.S. 266, (2002)). This is especially important here, when

the government’s description of the documents was false and presented with reckless

disregard for the truth. See DeLoach, 922 F.2d. at 22.

       Based upon this clear understanding of what the online re-registration form allows,

what Department of Commerce policy requires, and how a Department of Commerce

employee has instructed applicants to answer the very question involved in Mr. Koerber’s

situation with Corvus on March 6 – it is beyond dispute that Mr. Koerber did not commit

any act of deception and did not make a false statement when he used the date of March 6

in the process of re-registering. As such, the government’s basis for arguing that the March

2 receipt was suspect is also meritless.

       The evidence presented undermines the validity of Magistrate Judge Warner’s

refusal to reconsider his prior findings and his May 31 conclusions because “‘the totality

of the evidence’ must be considered” and the Court “must not ignore…exculpatory

evidence in order to find probable cause.” Felders, 755 F.3d at 879.

            B.    There Is No Remaining Evidentiary Basis to Question the Accuracy
                  of the $209, March 2 Receipt to Mr. Philpot.

       Based on the evidence now accurately and fully before the Court, there is nothing

that calls into question the March 2 date on the $209 receipt to Mr. Philpot. It is true that

Magistrate Judge Warner has also speculated that “timing is just not in Mr. Koerber’s

favor … [because] Mr. Skousen testified that Mr. Koerber has a pattern of doing things at

the last minute.” Ex. 1 at p. 138. But, even if Mr. Koerber has such a pattern, this suspicion


                                           Page 15 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 26 of 84



is not sufficient to find that the March 2 date on the $209 receipt is inaccurate.            See

Valenzuela, 365 F.3d at 896 (A court may not “arrive at probable cause simply by piling

hunch upon hunch.”) Further, Magistrate Judge Warner’s suspicion stretches Mr. Skousen’s

statement beyond its meaning. Mr. Skousen actually testified: “Rick does a lot of work for

a lot of different people, and sometimes we don’t get a pleading drafted and filed until the

deadline. It’s just the nature of the practice at times.” Id. at p. 91. Mr. Koerber’s attorney

followed up asking: “In all the time that Mr. Koerber has worked for you, has he ever

missed a deadline?” Id. at p. 92. Mr. Skousen answered, “There may have been once. I

don’t remember a specific instance. . .I don’t remember a specific time.” Id. (Emphasis

added). This testimony taken directly, actually supports the statement of Mr. Philpot that

the March 2 receipt was issued two days before the required deadline. See Ex. 1 at pp. 106-

107. Further, Mr. Koerber has since provided declarations from almost a dozen additional

attorneys, practicing in several different states and different federal districts, and all of them

attest to the quality of Mr. Koerber’s work, his integrity, and his respect for the law and

court rules. See attorney declarations attached Exhibit 5 (“Ex. 5”). Thus, Magistrate Judge

Warner’s reliance on speculation regarding the possibility of a missed deadline, is not an

adequate substitute for the evidence provided. Contrary to Magistrate Judge Warner’s

suspicion and speculation, the evidence presented has been broadly exculpatory. Mr.

Philpot testified that the date on the receipt is accurate, see Ex. 1 at pp. 108,115,116, and

almost a dozen other respectable attorneys have told the Court that Mr. Koerber’s paralegal

work is professional, high quality, and that he demonstrates respect for the law and court

rules. See Ex. 3. Evidence must be “sufficient to lead a prudent person to believe” that the

                                          Page 16 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 27 of 84



crime has been committed. Jones 854 F.2d at 1210.

           C.    No Evidence Establishes Probable Cause that Mr. Koerber Violated
                 any of the Four Misdemeanor Statutes.

       Pursuant to 18 U.S.C. § 3148(b), in order to conclude that Mr. Koerber violated the

terms of his release, the Court must find probable cause that a crime was committed.

However, Magistrate Judge Warner has twice declined to find “probable cause” that Mr.

Koerber committed one of the four specified misdemeanor crimes. Instead, he explained:

“I found that there’s probable cause to believe there was deception, that there was an

attempt - - not an attempt per se to violate the law, but, in essence, an attempt to deceive,

which was in-fact a potential violation. I don’t know.” Id. at p. 164, lines 9-14. But, the

law does not allow Magistrate Judge Warner’s unexplainable, subjective basis for a

probable cause finding. “Probable Cause is measured against an objective standard.”

Valenzuela, 365 F.3d at 896. “[T]he relevant question is whether a ‘substantial probability’

exist[s] that the suspect committed the crime[.]” Felders, 755 F.3d at 879. (Emphasis

added).

       The amended petition invokes four statutes: 1) Utah Code § 76-8-504 “Written False

Statement”; 2) Utah Code § 76-6-504 “Tampering With Records”; 3) Oregon Revised

Statutes § 165.080 “Falsifying Business Records”; and 4) Oregon Revised Statutes §

33.015 “Criminal Contempt”.

       Of course, the government must do more than cite a statute and make allegations.

Instead, it has the burden of proving that “a ‘substantial probability’ exist[s] that [Mr.

Koerber] committed [a] crime, requiring something more than suspicion” looking at “the


                                       Page 17 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 28 of 84



totality of the evidence” presented. Felders, 755 F.3d at 879. This did not happen at the

May 31 hearing, and Magistrate Judge Warner made no findings related to any of these

statutes.13

         In conducting this Court’s § 3145 de novo review of Magistrate Judge Warner’s

detention order, this issue of probable cause has to be revisited – independently – where

this Court must give “no deference to the Magistrate Judge’s findings and conclusions”

and “in so doing the Court may elect to start from scratch and take evidence…and also may

incorporate the record of the proceedings conducted by the Magistrate Judge, including

any exhibits.” United States v. Tayler, 2012 U.S. Dist. LEXIS 144199 (Utah District Court,

2012).

         For the reasons already explained above, there is no factual basis whatsoever for the

crime of Written False Statement since it is now reasonably undisputable that Mr.

Koerber’s March 6 submission the Utah Department of Commerce was true, accurate and

in line with instructions and guidance provided. Additionally, as also discussed thoroughly

above, there is not factual basis for the crime of Tampering with Records because there is

no reason to questions the date on the $209.00 March 2 receipt. Finally, neither the

government nor the Court ever explained how either of the Oregon statutes could be at

issue given the plain lack of Oregon jurisdiction. Therefore, Magistrate Judge Warner’s



13
  See United States v. Fisher, 702 F.2d 372, 378 (2d Cir. 1983) (“The experience of a
police officer is a factor to be considered in the determination of probable cause, see
United States v. Cortez, supra,449 U.S. at 418, 101 S.Ct. at 695, but the relevance of the
suspect's conduct should be sufficiently articulable that its import can be understood by
the average reasonably prudent person, see, e.g., id.”).
                                         Page 18 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 29 of 84



detention order should be revoked pursuant to § 3145. If the Court has any unresolved

questions regarding the lack of probable cause for any of these four statutes, Mr. Koerber

has provided a detailed analysis of each statute and the lack of factual support included

below, as Appendix A, Appendix B, Appendix C and Appendix D.

       II.    Magistrate Judge Warner’s Decision to Incarcerate Mr. Koerber Based
              on Dangerousness is Legally and Factually Invalid.

       Under 18 U.S.C. § 3148(b) even if a court finds probable cause that a defendant has

committed a misdemeanor offense in violation of his release conditions, the court may

revoke detention only if it also finds “that no conditions or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other

person and the community.” § 3148(b)(2). Flight risk has never been a concern of the Court

related to Mr. Koerber. See e.g. Ex. 1 at p. 140; also Appendix J.

       To make a finding under § 3148(b)(2) that Mr. Koerber is so dangerous “that no

conditions or combination of conditions will reasonably assure …the safety of any other

person and the community” the Court is required to evaluate the factors specified in

§ 3142(g). In Mr. Koerber’s circumstance, these factors have been evaluated multiple

times, were never attacked by the government, and in every instance the Court found that

these factors weighed in favor of Mr. Koerber’s release with minimal conditions and

personal recognizance. See Appendix J. Post-conviction this Court again released Mr.

Koerber, this time under § 3143, finding by “clear and convincing evidence” that none of

these factors indicated that Mr. Koerber was a flight risk or a danger.

       All of the instances proffered by the government, to prove Mr. Koerber’s alleged


                                       Page 19 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 30 of 84



dangerousness – except for the March 2, $209 receipt – were known to the government and

subject to the Court’s prior considerations. It, therefore, makes a mockery of these past

decisions to argue that this one new incident in March 2019, involving a $209 receipt (with

no government witnesses having first-hand knowledge and the only other party to the

receipt testifying under oath that it is true and accurate) should tip the scales and effectively

reverse seven prior court orders. It is also unreasonable, based on these circumstances, to

argue – let alone conclude – that Mr. Koerber, who has been on release for a decade

(essentially without conditions), now presents such a serious danger that no set of

conditions could reasonably assure the Court. On top of this, both the government and

Magistrate Judge Warner declined to substantially address five new proposed release

conditions volunteered by Mr. Koerber that would directly address the basis of these

alleged claims of dangerousness should the Court have any concerns. See Appendix L.

            A.    Magistrate Judge Warner’s Finding of Dangerousness is Factually
                  Unsupported in Each Instance.

       The government’s filings prior to the May 31 hearing did not include any allegation

of dangerousness. Instead, at the hearing, the government proffered four alleged

circumstances that prosecutors argued were sufficient to justify Mr. Koerber’s

incarceration (two civil disputes Mr. Koerber had with landlords more than seven years

ago, and to two unrelated legal proceedings in 2014 and 2016.)

       Mr. Koerber objected to both the last-minute nature of these proffers and the fact

that there was no evidence presented to support any of the government’s allegations.

Findings of dangerousness must be based on evidence that is actually “before the court.”


                                         Page 20 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 31 of 84



United States v. Tortora, 922 F.2d 880, 888 (1st Cir. 1990).

       Prosecutors have since provided a few FBI 302 interview reports and selected pages

from court proceedings. Significantly, however, the government has produced no signed

witness statements. Further, as detailed below, Mr. Koerber has provided evidence

demonstrating that prosecutors here again have omitted material facts and exaggerated

allegations related to these alleged instances of dangerousness. In this context, it was

impermissible for Magistrate Judge Warner to use these instances to find a “pattern of

deception” and dangerousness. See Rule 32.1 of the Federal Rules of Criminal Procedure;

Note to Subdivision (b) (The revocation hearing “is less a summary one because the

decision under consideration is the ultimate decision to revoke rather than a mere

determination of probable cause” and “disclosure of all the evidence against the [accused]

is required [.]”). Evidence must show “a strong possibility that a person will commit

additional crimes if released…[evidence must] support such a conclusion with a high

degree of certainty.” Chimurenga, 760 F.2d at 405.

       The “pattern of deception” described by Magistrate Judge Warner, consists of the

following:

              1) The United States v. Bundy criminal trial in 2016.

       Mr. Koerber has been widely praised for his professional involvement as a member

of the legal defense team in the United States v. Bundy trial. See e.g. the declarations of

attorney’s Ludwig, Schindler, and Arnold included in Exhibit 5. Nevertheless, the

government has repeated stale and long ago disproven allegations that Mr. Koerber was

somehow involved in an attempt to deceive District Court Judge Anna Brown. According

                                       Page 21 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 32 of 84



to prosecutors, this Court should find that Mr. Koerber’s continued release presents a

danger to the community because Judge Brown did not know that Mr. Koerber was the

same person designated as “Claud R. Koerber” and sometimes as “Rick Koerber” when his

name was previewed as a potential witness; and that Judge Brown did not know Mr.

Koerber was in the courtroom during the Bundy trial. These allegations are inaccurate.

       It is beyond reasonable dispute, see Ex. ** at pp. 17-24, that Judge Brown herself

approved Mr. Koerber as a CJA paralegal in the early stages of the case. In that process,

Mr. Koerber candidly disclosed to Judge Brown his legal name “Claud R. Koerber”, his

nickname “Rick Koerber”, as well as the criminal history of this case. Id. It is also beyond

reasonable dispute (based on inter alia, emails from Judge Brown and her clerk) that Judge

Brown knew Mr. Koerber and his involvement and had personally approved Mr. Koerber’s

presence in the well of the court during trial and in the defense work area at the back of the

courtroom. See Exhibit 7 at pp. 19-20.

       Prosecutors have known about and had access to this information but have neglected

to correct the record regarding these meritless allegations. Mr. Koerber’s involvement in

the Bundy trial demonstrates the professional value he has created in the community and

the government’s continued attempt to disparage Mr. Koerber with these false allegations

shows the illegitimate length prosecutors have gone to in order to see him incarcerated.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of his

involvement in the Bundy Trial and the lack of evidence supporting these allegations, in

Appendix E.



                                         Page 22 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 33 of 84



              2) The Koerber v. Mismash landlord/tenant dispute in 2011.

       The government argues that eight years ago, Mr. Koerber deceived his landlord

(Nancy Mismash) regarding electric bills, repairs, and the existence of a private contractor

business. The government has provided no witness statement but relies instead on an FBI

302 report describing an interview with Ms. Mismash’s attorney. Prosecutors have

neglected to mention that this was a civil proceeding in state court, and there were no

allegations in Ms. Mismash’s pleadings that Mr. Koerber had engaged in any deception.

See Exhibit 8. Further, prosecutors argued at the May 31 hearing that Mr. Koerber claimed

to use a private contractor company that did not exist. Mr. Koerber has provided undisputed

evidence showing that the business most certainly did exist and that prosecutors simply

failed to do even a basic investigation of the matter. See id. There is no allegation of illegal

conduct and frankly nothing in the Koerber v. Mismash proceeding that demonstrates

dangerousness. In fact, prosecutors omit that Mr. Koerber ultimately prevailed in this

matter before the Utah Court of Appeals. See id.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of his

involvement in the Koerber v. Mismash matter and the lack of evidence supporting these

allegations, in Appendix F.

              3) Real Property Management v. Koerber (Elwood) 2012 landlord
                 dispute for $228.

       Prosecutors alleged that another dispute between Mr. Koerber and his landlord

seven years ago also demonstrates dangerousness. Here, prosecutors falsely allege that Mr.

Koerber was responsible for $21,000 in damage to property. No allegation of deception or


                                         Page 23 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 34 of 84



illegal conduct has been made by the government. No witness statements have been

provided. Once again, prosecutors have omitted references to the actual pleadings in this

matter. These pleadings show that there was no allegation of deception by the landlord. See

Exhibit 8. Worse, prosecutors have extremely exaggerated the facts. The public court

records show that the parties reached a stipulation and resolved the dispute for a total

of $228.66. See id. This is a far cry from the alleged $21,000 proffered by prosecutors. The

Court should resist attributing any significance to this supposed incident of dangerousness,

except to note again the illegitimate lengths prosecutors have gone to in order to disparage

Mr. Koerber with unsupported rumor and allegations in order to see Mr. Koerber unfairly

incarcerated.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of his

involvement in the Real Property Management (Elwood) matter, and the lack of evidence

supporting these allegations, in Appendix G.

                4) The Fish v. Fish divorce proceeding in November 2014.

       Prosecutors misidentify this incident as taking place in 2015. It took place during a

hearing in November of 2014. Mr. Koerber was not a party to the matter but testified as a

witness. Mr. Koerber was never accused of deception or any wrongdoing. There is clearly

nothing unlawful that took place in this November 2014 hearing. Mr. Koerber did not have

a financial obligation, and there is no evidence – or even an allegation – that there was any

pecuniary loss caused by any action of Mr. Koerber.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of his

involvement in the Fish v. Fish matter, and the lack of evidence supporting these

                                       Page 24 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 35 of 84



allegations, in Appendix H.

              5) The Fryberger v. Edwards matter in Oregon.

       Besides the allegations already discussed, related to Fryberger v. Edwards,

Magistrate Judge Warner relied on claims by the Peterkin law firm (which represents

Fryberger) that they did not know who Mr. Koerber was, did not know that he was a

convicted felon, and that they would not have agreed to him having access to certain

sensitive discovery. See Ex. 1 at p. 162. But again, Magistrate Judge Warner was misled by

prosecutors who were reckless with regard to the truth. It has now been conceded by the

Peterkin attorneys that Mr. Koerber had ceased all interactions with plaintiff’s law firm

long before he was convicted. See attached Exhibit 11. It has also been conceded by the

Peterkin attorneys that their associate Ms. Lordi knew who Mr. Koerber was, had

researched Mr. Koerber at the beginning of the Fryberger v. Edwards case, and had

discussed his personal history with Mr. Koerber over the phone. Finally, it has also been

conceded in the Oregon proceeding that neither the Peterkin lawyers nor their client had

produced a single page of discovery material. See id. In other words, all of the Peterkin

claims relied upon by Magistrate Judge Warner were false and the government’s proffers

without support.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of his

involvement in the Fryberger v. Edwards matter, and the lack of evidence supporting these

allegations, in Appendix I.

           B.      Magistrate Judge Warner Misapplied the Dangerousness Factor

       In the present circumstances the most relevant § 3142(g) factor is the “nature and

                                      Page 25 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 36 of 84



seriousness of danger to any person or the community that would be posed by the person’s

release.” § 3142(g). On May 31, Magistrate Judge Warner explained “I don’t see Mr.

Koerber as a violent man”, Ex. 1 at p. 140, but identified the possibility of “a financial

danger, fraud, for want of a better word, that kind of danger.” Id. Magistrate Judge Warner

was relying on the legal principle that “financial danger” can sometimes constitute the basis

for a dangerousness finding under § 3142(g). See United States v. Reynolds, 956 F.2d 192

(9th Cir. 1992) (“[w]e hold that danger may, at least in some cases, encompass pecuniary or

economic harm.”) However, Magistrate Judge Warner’s findings of dangerousness did not

derive from any circumstance where Mr. Koerber was engaged in any illegal or wrongful

conduct that caused pecuniary or economic harm.

                     1. Magistrate Judge Warner’s “Pattern of Deception” Finding Does
                        Not Support a Financial Dangerousness Risk.

       Under § 3142(g) the first step in considering this factor is determining “the nature

of the alleged dangerousness.” Here, Magistrate Judge Warner misapplied this factor. Using

the term “financial danger” and “fraud,” Magistrate Judge Warner found that Mr. Koerber

presented a danger to the community based on government proffers related to two civil

disputes Mr. Koerber had with landlords more than seven years ago, and to two unrelated

legal proceedings from 2014 and 2016. Based on these circumstances, Magistrate Judge

Warner found that Mr. Koerber has engaged in a “pattern of deception” and that this pattern

constituted dangerousness sufficient to revoke Mr. Koerber’s release. See Ex. 1 at p. 164.

       But, in making this finding Magistrate Judge Warner substituted this “pattern of

deception” for the holding referenced in Reynolds, explaining that “pecuniary or economic


                                       Page 26 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 37 of 84



harm” is a kind of danger that is encompassed within the dangerousness factor of § 3142(g).

Reynolds at 192. This is significant for several reasons. First, Reynolds concedes that this

type of harm is likely limited to special circumstances and relates directly to “pecuniary or

economic harm.” Second, the instances relied upon by Magistrate Judge Warner do not

involve any pecuniary or economic harm suffered by anyone who claimed harm from being

deceived.

       As discussed in more detail below, each of these alleged instances involved court

proceedings. None of the pleadings in any of the cases includes any allegation of deception.

None of the orders from the courts overseeing these proceedings include any findings or

any discussion of deception by Mr. Koerber. Finally, the two landlord disputes were

resolved by the courts in Mr. Koerber’s favor, where the alleged financial damages were

related to typical landlord tenant property damage issues. The two other cases lack any

claim whatsoever of pecuniary or financial harm. Thus, Magistrate Judge Warner’s finding

of a “pattern of deception” does not constitute “the nature of dangerousness” contemplated

by Reynolds nor does it constitute a risk of financial harm based on deception, because it

does not derive from a credible claim of fraud or pecuniary harm that might result from

deception if Mr. Koerber remains on release.

                     2. Magistrate Judge Warner’s “Pattern of Deception” Finding is
                        Incompatible with Tenth Circuit Precedent.

       A second significant problem in Magistrate Judge Warner’s finding of

dangerousness is that none of the proffered instances of dangerousness include allegations

of illegal conduct by Mr. Koerber. This is invalid. Leaving aside the fact that all of these


                                       Page 27 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 38 of 84



alleged instances of dangerousness occurred between three and eight years ago Congress

intended, and Tenth Circuit precedent requires, that allegations of dangerousness

must relate to illegal conduct not merely any random conduct that the government claims

– in hindsight – to be problematic. See Comprehensive Crime Control Act of 1984, Senate

Report No. 98-225, reprinted in 1984 U.S.Code Cong. & Ad. News, pp. 3182, et seq.; See

also Cook, 880 F.2d at 1161 (“Safety of the community ‘refers to the danger that the

defendant might engage in criminal activity to the detriment of the community.’”) In the

Tenth Circuit, a finding of financial dangerousness has generally been found only in

circumstances where defendants have continued illegal financial activities related to

charged crimes, or where there is a history of a defendant failing to make full financial

disclosures of significant financial transactions or assets, and thereby violating conditions

of release related to financial restrictions. See e.g. United States v. Wittig, 2006 Dist. LEXIS

1950 (District of Kansas, 2006).

                      3. Magistrate Judge Warner’s “Pattern of Deception” Finding is
                         Invalid Under the Eighth Amendment.

       A third significant problem with Magistrate Judge Warner’s dangerousness finding

and his failure to consider Mr. Koerber’s proposed release conditions, is that the Eighth

Amendment guarantees that in circumstances like Mr. Koerber’s, denial of release is only

appropriate in the most serious circumstances, and “only for the strongest of reasons.”

Sellers v. United States, 89 S. Ct. 36, 38 (1968)(“The idea that it would be “dangerous” in

general to allow the applicant to be at large must...relate to some kind of danger that so

jeopardizes the public that the only way to protect against it would be to keep the


                                         Page 28 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 39 of 84



applicant in jail.”) See also United States v. Affleck, 765 F.2d 944, 957 (10th Cir. 1985)

(“Even if Congress is free to define nonbailable offenses, certainly the allowable

justifications are limited…at a minimum, the eighth amendment must prohibit

unreasonable denial of bail.”)

       It is difficult to understand how the most recent incident involving a $209 receipt to

an attorney for dispatch of appeal documents; two landlord disputes from more than seven

years ago; and two other court cases involving no financial losses caused by Mr. Koerber,

could somehow satisfy this constitutional standard. See Chambers v. Mississippi, 405 U.S.

1205 (1972) (Releasing a defendant despite the allegation that it would “create a tense and

explosive situation in the community which might result in bloodshed.”).

       Almost 20 years after Sellers the Supreme Court reaffirmed that release in

circumstances like Mr. Koerber's should only be denied if the evidence shows “a strong

possibility that a person will commit additional crimes if released...[evidence must] support

such a conclusion with a high degree of certainty.” United States v. Chimurenga, 760 F.2d

400, 405 (2d Cir. 1985). See also United States v. Orta, 760 F.2d 887 (8th Cir. 1985) (“The

structure of the statute mandates every form of release be considered before detention be

imposed.”)

                     4. Magistrate Judge Warner’s Finding of Dangerousness is Not
                        Based Upon Any Significant Risk of Harm to Any Person or the
                        Community.

       All findings of dangerousness under § 3142(g) must be specific and articulatable.

See United States v. Salarno, 481 U.S. 739, 751 (1987). Assuming for the sake of argument

that the allegations considered by Magistrate Judge Warner do show some concern for

                                       Page 29 of 36
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 40 of 84



dangerousness, the specific dangers highlighted are limited to Mr. Koerber’s relationships

with landlords and those attorneys and clients he works with in the legal community. This

is significant because Mr. Koerber has attached Exhibit 9, a declaration from Duane and

Cathy Runyan, Mr. Koerber’s landlords for the last 5 years. The Runyans make very clear

that Mr. Koerber and his family are, and have been, good tenants and productive members

of their local community. This is direct evidence that Mr. Koerber’s continued release does

not present any reasonable risk or danger to landlords. Mr. Koerber has also attached

Exhibit 5, a collection of declarations from eight experienced attorneys from Utah, Oregon,

California, and Nevada who have hired or worked with Mr. Koerber on cases where he has

worked as a paralegal. Each attest to Mr. Koerber’s integrity and respect for the law and

court rules. These declarations show that Mr. Koerber’s professional work is a very

valuable service to the community. Mr. Koerber has also included Exhibit 12, a collection

of declarations from several clients also showing that Mr. Koerber’s professional legal

work is valuable to the community. Taken together, the evidence presented regarding Mr.

Koerber’s current conditions – weighs against the bare proffers by the government – and

prohibits a finding of “a strong possibility” that Mr. Koerber “will commit additional

crimes if released” and there is certainly no evidence to support allegations of any such

risk “with a high degree of certainty.” Chimurenga, 760 F.2d at 405.




                                       Page 30 of 36
       Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 41 of 84



             C.    Magistrate Judge Warner Misapplied the Burden of Proof and Erred
                   in Applying a Presumption of Detention.

         At the May 31 hearing Magistrate Judge Warner applied the burden of proof to Mr.

Koerber requiring that he prove by “clear and convincing evidence” that he was not a

danger. See Ex. 1 at p. 163.14 In doing so, Magistrate Judge Warner committed plain legal

error. Magistrate Warner was not making a determination of whether Mr. Koerber should

be released post-conviction (governed by § 3143 and Rule 46(c)), that decision had already

been made by this Court in September 2018. Instead, he was required to follow § 3148(b)

and Rule 32.1(a)(6) which govern the possibility of sanctions and revoking release for a

violation of release conditions. See United States v. Thomas, 2018 U.S.Dist. LEXIS 81605

(“While 18 U.S.C. § 3143 specifically addresses release or detention pending sentencing it

does not appear to include any express provisions as to revocation of a previously entered

Order of Release.”)

         Under these provisions, it is the government – not Mr. Koerber – who had the burden

to prove that Mr. Koerber’s continued release would constitute a danger to the community

to the degree that no set of conditions could reasonably ameliorate the risk. See 18 U.S.C.

§ 3148(b)(2)(A); see also United States v. Gotti, 794 F.2d 773, 776-77 (2d Cir. 1986)

(“This [§ 3148(b)] scheme indicates that where there is probable cause to believe the

released defendant has committed a crime he may hereafter be detained upon a finding,

by … a preponderance of the evidence, that no conditions of release will guard against

flight or dangerousness[.]”) (Emphasis added). Thus, unlike the pretrial release


14
     The evidence Mr. Koerber has provided does nevertheless meet this standard.
                                        Page 31 of 36
       Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 42 of 84



provisions of § 3142 there is no provision within the Bail Reform Act other than § 3148

that governs the decision of whether or not to impose the sanction of revoking Mr.

Koerber’s release post-trial.

        Magistrate Judge Warner also erred in applying a presumption of detention at the

May 31 hearing. See Ex. 1 at p. 163. In fact, § 3148(b) makes clear that there is no

presumption of detention even when a release condition has been violated, so long as the

offense at issue is not a felony. See 18 U.S.C. § 3148(b).

        By making these two legal errors, Magistrate Judge Warner’s dangerousness

conclusion and his decision to incarcerate Mr. Koerber are invalid. Further, because of

these errors, the May 31 hearing violated Mr. Koerber’s guarantees of due process pursuant

to the Fifth Amendment. Once Mr. Koerber was released post-conviction, he had a right to

mandatory release going forward and a protected liberty interest under both the Bail

Reform Act and the Eighth Amendment.

        The statute [§ 3143] establishes a right to liberty that is not simply
        discretionary but mandatory: the Judge “shall order the release of the person
        in accordance with Section 3142 (b) or (c). In sum, even though a guilty
        verdict greatly reduces a defendant’s expectation in continued liberty, it does
        not extinguish that interest. The language of Section 3143(a) confers a
        sufficient liberty interest in continued release…to warrant some measure of
        due process protection.

United States v. Abuhamra, 389 F.3d 309, 319 (2nd Cir. 2004). Eighth Amendment

guarantees also apply, even post-conviction, to assure that a defendant is not denied release

except “for the strongest of reasons.” Sellers, 89 S. Ct. at 38. See also Affleck, 765 F.2d at

957.

        Finally, in misapplying the burden of proof and at the same time by mistakenly

                                        Page 32 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 43 of 84



applying a presumption of detention, Magistrate Judge Warner misapprehended Mr.

Koerber’s circumstance. Magistrate Judge Warner stated at the May 31 hearing,

       Mr. Koerber, he’s not a big deal. He’s another white-collar defendant who
       has committed, according to a jury, serious fraud, and has been convicted.
       He doesn’t merit or warrant special attention, even though he’s been going
       through this for years.

Ex. 1 at p. 165. But, respectfully, this misses the larger point. Once this Court made its May

2018 order regarding Mr. Koerber’s release, and then subsequently released Mr. Koerber

post-conviction, the interest of justice supports continued release. See e.g. Abuhamara, 389

F.3d at 319. As Justice Jackson famously instructed, under these kinds of circumstances

“there is a very practical aspect… which must not be overlooked or underestimated- that is

the disastrous effect on the reputation of American justice if [the court] should now send…

men to jail and [a reviewing] Court later decide that their conviction is invalid. All

experience with litigation teaches that the existence of a substantial question about a

conviction implies a more than negligible risk of reversal. Indeed this experience lies back

of our rule permitting and practice of allowing bail where such questions exist, to avoid the

hazard of unjustifiably imprisoning persons with consequent reproach to our system of

justice.” Williamson v. United States, 184 F.2d 280, 284 (2d Cir. 1950).

           D.     The 3142(g) Factors Support Mr. Koerber’s Immediate Release and
                  His Release Pending Appeal.

       The Court has previously considered and granted Mr. Koerber’s release pursuant to

the terms of the Bail Reform Act on at least seven prior occasions. For the Court’s benefit

Mr. Koerber includes a more detailed analysis of each of these prior seven court orders

granting his release in Appendix J.

                                        Page 33 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 44 of 84



       The only information provided by the government that was not previously available

relates to the Fryberger v. Edwards matter. As detailed above, the plaintiff’s allegations in

that matter relied on by Magistrate Judge Warner were false. The complaining attorneys in

that matter have now conceded the point. For this reason alone the Court’s review of §

3142(g) factors should clearly support Mr. Koerber’s release.

       Further, it is clear, as detailed throughout this motion that Mr. Koerber is not a “risk”

or a “danger” which this Court has previously supported. There is no substantiated

complaint against Mr. Koerber, no verified evidence provided, and no witnesses brought

before the Court by the prosecution that verifies any of the government’s allegations

against Mr. Koerber. On the other hand, Mr. Koerber has provided ample evidence,

witnesses, and details summarizing and concluding the opposite. This evidence includes

Exhibit 5 and Exhibit 9 and Exhibit 12. On top of all this, the fact that Mr. Koerber was on

release - without incident, for a decade – provides strong evidence against any proffered

risk of dangerousness.

       A declaration from attorney Bret Whipple, offers a poignant endorsement of Mr.

Koerber and a warning about how prosecutors have unfairly attacked Mr. Koerber.

       I was well aware before working with Mr. Koerber of the personal legal
       issues he faced in Utah and how a party opposed to my client might try and
       gain an unfair advantage by disparaging me and my client for our association
       with him. But, increasingly, I came to make an independent assessment of
       Mr. Koerber’s abilities and character. I regard him as one of the most
       intelligent and honest persons with whom I have been associated.




                                        Page 34 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 45 of 84



Ex. 5 at pp. 4-5. In any event, the government has not proven by any standard that Mr.

Koerber’s continued release is dangerous to the point that no conditions of release can

satisfy the Court.

       Finally, the Bail Reform Act does not require guarantees, only reasonable

assurances. See Tortora, 922 F.2d at 884 (“Undoubtedly, the safety of the community can

be reasonably assured without being absolutely guaranteed . . . requiring that release

conditions guarantee the community's safety would fly in the teeth of Congress's clear

intent[.]”): See United States v. Gonzalez, No. CR12-0128JB (D. New Mexico. Jan. 17,

2013) (unpublished) (overruling a requirement of a guarantee). In this context, if the Court

has any concerns, the conditions previously proposed by Mr. Koerber directly address the

alleged risks. As previously pointed out, the specific dangers highlighted are limited to Mr.

Koerber’s relationships with landlords and those attorneys and clients he works with in the

legal community. Mr. Koerber has attached Exhibit 9, a declaration from his current

landlords, and Exhibit 5, a collection of declarations from eight experienced attorneys from

Utah, Oregon, California, and Nevada. These declarations show that Mr. Koerber presents

no specific risk of dangerousness upon release.

       For the Court’s benefit Mr. Koerber includes a more detailed analysis of the §

3142(G) factors in Appendix K.

                                      CONCLUSION

       As pointed out in the beginning of this memorandum, in May 2018, this Court

poignantly considered the history of this case and the position of Mr. Koerber and made

certain findings, including that should a conviction occur - this Court would allow Mr.

                                       Page 35 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 46 of 84



Koerber to stay on release pending appeal. This Court specifically stated that it could not

conceive of a reason to require Mr. Koerber be detained pending appeal. The Court should

not allow the false allegations and reckless disregard for the truth demonstrated by

prosecutors to change this decision. Instead, the Court should revoke Magistrate Judge

Warner’s detention order.

       Respectfully, Mr. Koerber moves for his immediate release with an order today,

based on the abundance of information herein, and the substantial evidence which he has

provided. Mr. Koerber’s release is essential to his defense prior to sentencing, to work with

his attorneys on his forthcoming appeal and to otherwise enjoy his liberty.

       In addition, this motion is the most direct and appropriate method to vindicate Mr.

Koerber’s Fifth and Eighth Amendment constitutional rights as well as his statutorily

defensible right to liberty discussed above. This Court has a unique obligation to defend

the rights at issue here, especially in light of the prosecutors’ conduct.

       Keeping all this in mind, Mr. Koerber respectfully submits this motion for expedited

consideration.

       DATED: September 24, 2019

                                           /s/ Kathryn N. Nester
                                           Attorney for Defendant




                                        Page 36 of 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 47 of 84




                                       APPENDIX A

The Evidence Does Not Support a Probable Cause Finding for the Crime of Written
False Statement (U.C.A. §76-8-504)

       The second crime alleged in the petition as a violation of Mr. Koerber's release

conditions is the Utah misdemeanor crime of Written False Statement.

       A person is guilty of a class B misdemeanor if: (1) He makes a written false
       statement which he does not believe to be true on or pursuant to a form
       bearing a notification authorized by law to the effect that the false statement
       made therein are punishable; or (2) with the intent to deceive a public
       servant in the performance of his official function, he: (a) Makes any
       written false statement which he does not believe to be true; or (b)
       Knowingly creates a false impression in a written application for any
       pecuniary or other benefit by omitting information necessary to prevent
       statements therein from being misleading; or (c) Submits or invites reliance
       on any sample, specimen, map, boundary mark, or other object which he
       knows to be false.

U.C.A. § 76-8-504. The government argues that the factual predicate for the crime of

Written False Statement is Mr. Koerber's submission of the Department of Commerce

online form during the processes of re-registering Corvus on March 6, 2019.

       The first obvious problem with this allegation is that it is plainly false. As was

revealed at the hearing, Mr. Koerber’s submission on this online form does not qualify for

this statute because the form did not include the required statutory notification since Mr.

Koerber signed as a manager, not a member, of the company. See Ex. 1 at p. 48-49. This

is sufficient for the Court to disregard all claims related to this statute. The government

has never rebutted this issue.

       The second and most significant problem with this allegation has already been

detailed thoroughly above. Mr. Koerber did not submit any false information on this

                                                                           APPENDIX Page 1
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 48 of 84



form, and instead complied with Department of Commerce direction and policy. See

generally, Exhibit 2. As also pointed out above, the government has now conceded the

falsity of this allegation by implication, when it previously omitted any response to

Exhibit 2.

       Third, no evidence was presented that Mr. Koerber's answer on the online form

regarding March 6 – was meant to deceive, even before the new evidence in Exhibit 2

came to light. Also, Mr. Koerber’s answer to the online question is not disclosed

publically and is not used in any material way or required to register a business. This is

significant because in November 2018 and on February 28, 2019, Mr. Koerber had

already openly volunteered that Corvus was doing business (including providing current

bank records) prior to re-registration. Put simply, the statute at issue here requires proof

that a person makes a written false statement that “he does not believe to be true” and for

the purpose of deception. There is no evidence that Mr. Koerber did not believe that by

using the date required by the Department of Commerce “March 6”, he was doing

anything different than simply telling the truth. The evidence from multiple sources

(Belcher, Skousen, Franklin, Department of Commerce) supports the answer as being

accurate and reasonable. And, unquestionably there is no evidence that Mr. Koerber did

not believe the statement to be true after he and Mr. Belcher received direct guidance

from the Department of Commerce, who explained that the answer clearly applied to the

newly re-registered version of the company.

       Magistrate Judge Warner made no specific findings on this point, except to trust

the conjecture by prosecutors that something seemed questionable about the timing of the

                                                                           APPENDIX Page 2
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 49 of 84



re-registration of Corvus, and the proximity of that re-registration to the date of the

March 2 receipt for the Frybeger v. Edwards matter. However, the Court now has

additional details before it, showing the reasonableness of the timing – including the fact

that Mr. Koerber began the re-registration process on March 5, the day after he received

the PSR from Ms. Schuman (Pre-Trial Services Officer) that criticized him for Corvus

being unregistered, and after he had received a copy of the March 5 email between

prosecutors and the Office of Pre-trial Services indicating that Pre-trial Services had

asked the prosecutors to conduct additional research into Corvus. See Exhibit 3. Thus,

the available evidence shows – without any contravention – that the two events (the

March 2 receipt, and the March 6 re-registration of Corvus) were simply un-related.

       Mr. Koerber’s re-registration of Corvus was, in fact, an effort to comply with his

conditions of release—not a release violation. Mr. Koerber accepted dispatch for Corvus

from attorney J. Morgan Philpot on Saturday, March 2. Two days later, at the beginning

of a new work week, on March 4, Mr. Koerber received the initial draft of the PSR that

had been delivered to his attorneys from U.S. Pretrial Services officer Mary Schuman.

The PSR criticized him for working through Corvus – given that Corvus’ registration had

remained expired. Mr. Koerber and his attorneys had discussed this issue. Mr. Koerber

freely disclosed this information to Ms. Schuman in November and just a few days earlier

on February 28. Mr. Koerber’s attorneys had objected to the criticism, and Mr. Koerber

hoped that the issue would have been removed from the PSR. But it wasn’t. So, Mr.

Koerber took immediate action, as described in Mr. Belcher’s testimony.

       Magistrate Judge Warner stated at the May 31 hearing: “It would seem to me, in

                                                                           APPENDIX Page 3
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 50 of 84



my modest judgment, that if I had been convicted of serious crimes of fraud, as Mr.

Koerber, and then been allowed by the judge, in this case Judge Block, to be released

pending sentencing, that I would be, as they say, on my very best behavior. I would do all

in my power to ensure that I did not run afoul of the law in any way, simply because I

would suspect that I would be on, to use a phrase, relatively thin ice.” Ex. 1 at p. 160.

But, respectfully, this is what the evidence shows. Immediately after his conviction Mr.

Koerber candidly disclosed all material information related to Corvus. There is no

evidence that re-registering Corvus on March 6 gave Mr. Koerber any benefit in the

Oregon case or any other significant benefit. This is pure speculation.

       Finally, in light of the evidence now presented it should be clear that Mr. Koerber

was acting diligently--just as Magistrate Judge Warner said he should have been--to make

sure he was in compliance with the Department of Commerce after the PSR gave him

notice that this was a concern.




                                                                          APPENDIX Page 4
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 51 of 84



                                       APPENDIX B


The Evidence Does Not Support a Probable Cause Finding for the Crime of Tampering
with Records (U.C.A. §76-6-504)

       The first crime alleged is the Utah misdemeanor crime of Tampering with

Records.

       Any person who, having no privilege to do so, knowingly falsifies,
       destroys, removes, or conceals any writing, other than writings enumerated
       in Section 76-6-503.5 for which the law provides public recording or any
       record, public or private, with the intent to deceive or injure any person or
       to conceal any wrongdoing is guilty of tampering with records.

U.C.A. § 76-6-504.

       The first legal problem prohibiting any finding of probable cause that Mr. Koerber

committed this misdemeanor crime is that the statute deals with circumstances where a

valid or legitimate “record” or “writing” exists, but is later tampered with by a person

who does not have authority to make changes to the record or writing. The government’s

brief and oral arguments make clear that the supposed predicate act for this offense is Mr.

Koerber having created the March 2 receipt for Attorney J. Morgan Philpot. Given that

neither the government nor Magistrate Judge Warner substantially addressed the statutory

language or the elements – revocation of Magistrate Judge Warner’s detention order is

appropriate.

       The second legal problem for the government is that the language of the statute

begins by presuming – that a writing or record exists and is later tampered with by a

person who does not have authority to make changes to the record or writing. The

language of the statute does not address the creation of the writing or record in the first

                                                                          APPENDIX Page 5
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 52 of 84



instance – which is the case with Mr. Koerber’s March 2 receipt.

       The third legal problem is that there is no allegation or finding that Mr. Koerber

carried out any of the prohibited acts of “falsify[ing]”; “destroy[ing]”, “remov[ing]” or

“conceal[ing]” the $209, March 2 receipt. It is undisputed that that March 2 transaction –

actually took place. Mr. Koerber created the March 2 receipt, and there is no allegation

that it was ever modified. Thus, any suspicion or hunch that Mr. Koerber did something

other than create a business document, that he had the privilege to create as the manager

of Corvus, and in so doing acted in violation of this statute; is unfounded. The closest

argument – implicitly – is that if Mr. Koerber backdated the receipt – somehow this

constitutes “falsify[ing]” the March 2 receipt. But, there is no explanation for how this

would be so.

       If two parties transact business, and both parties agree that the receipt evidencing

the transaction is accurate, see Ex. 1 at 107-108,15 there has to be some reliable evidence

that the receipt has been falsified before any probable cause could exist that a crime

occurred. See United States v. Fisher, 702 F.2d 372, 375 (2nd Cir. 1983) (“The quantum of

evidence required to establish probable cause…must constitute more than rumor,

suspicion, or even strong reason to suspect[.]”) (Internal quotation marks omitted.); see

also Felders, 755 F.3d at 879 (Same).

       Given the falsity of the government’s argument regarding the March 6 answer



15
  Magistrate Judge Warner does not give greater weight to Mr. Philpot’s direct testimony
on this issue over mere suspicion or speculation. See Ex. 1 at p. 10 p. 163, lines 7-8. (“I
think the document may or may not have been backdated.”)
                                                                          APPENDIX Page 6
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 53 of 84



during re-registration (discussed thoroughly above) the closest evidence discussed by the

government and Magistrate Judge Warner that could weigh on this issue is Mr. Koerber’s

practice of working up until the last minute. But, this plainly does not constitute evidence

that the March 2 receipt was falsified. If this were true, and if this hunch were sufficient

to establish probable cause – this same flawed logic would implicate more than just

Corvus’ March 2 receipt to Mr. Philpot, but would be equivalent grounds to justify an

unlimited inquisition-style sweeping, where the government could point to any other

receipt by Mr. Koerber, at any point in the past to argue that each such document may not

have the correct date – and then, that this too constituted a criminal violation. Tenth

Circuit precedent clearly prohibits reliance on such speculation. “This court has

unambiguously held that probable cause cannot be established, as noted, simply by piling

hunch upon hunch.” Poolaw v. Marcanted, 565 F.3d 721, 729 (10th Cir. 2009). Actual

evidence presented “must constitute more than rumor, suspicion, or even strong reason to

suspect[.]” See Fisher, 702 F.2d. at 375. The evidence must derive from “reasonably

trustworthy information” and it must be “sufficient to lead a prudent person to believe”

that the crime has been committed. Jones v. City and County of Denver, 854 F.2d 1206,

1210 (10th Cir. 1988).

       From America’s founding, one of the fundamental principles of criminal law has

been to reject the very abusive history of incarcerating citizens based on rumor and

suspicion. See e.g. Felders, 755 F.3d at 879 (“The requirement of probable cause has

roots that are deep in our history … [requiring more than] “common rumor or report,

suspicion or even ‘strong reason to suspect’”). In light of the new evidence (Mr. Philpot’s

                                                                          APPENDIX Page 7
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 54 of 84



bank statement) showing payment of an advanced retainer to Corvus for the Edwards

matter on Feb. 28, 2019, (attached here as Exhibit 4) from which the cash funds for the

March 2 dispatch were paid – coupled with the testimony of Mr. Philpot that the date on

the March 2 receipt is accurate – the evidence in existence contravenes the hunches and

suspicions about the March 2 date.

       The fourth problem is that Mr. Koerber must be found by probable cause to have

committed one of the prohibited acts, “with the intent to deceive or injure” someone or

“to conceal any wrongdoing[.]” U.C.A. § 76-6-504. However, no allegation is made on

this point. Ms. Carr testified that she had found no evidence that Mr. Koerber gave the

March 2 receipt to anyone besides Mr. Philpot and no evidence that he “ever made any

representations to a court in Oregon.” See Ex. 1. at p. 51. This distinction is important,

because while the government implies, and Magistrate Judge Warner suspected, that Mr.

Koerber was part of some effort to deceive the Oregon Court of Appeals – he is not

alleged to have violated an aiding or abetting statute, or a conspiracy statute, or the like.

He is alleged to have violated this tampering statute, which requires that he himself did

one of these prohibited acts, without authority, and that he did it “knowingly” and “with

intent” to harm some person. Mr. Koerber is not a party to the Oregon action. Mr.

Koerber made no representations to the Oregon Court of Appeals. There is no evidence

that Mr. Koerber has any financial interest in the outcome of that appeal. To find

probable cause on this point would require the impermissible piling of hunch upon hunch.

       Finally, any one of the above problems is enough to vitiate probable cause related

to this statute. The Court’s de novo review should pay close attention to other false and

                                                                           APPENDIX Page 8
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 55 of 84



misleading statements by prosecutors on this point. For example, prosecutors falsely

stated that, “Koerber prepared a receipt for an Oregon court [.]” see Doc. 584 at p. 4,

when it is clear that Mr. Koerber prepared the receipt for Mr. Philpot, and it was Mr.

Philpot who subsequently certified the notice of appeal for the Oregon Court of Appeals.

Also, prosecutors stated that “Koerber submitted a dispatch receipt to an Oregon Court of

Appeals.” Id., at p. 3, but the evidence is that he did not. As cited above, Ms. Carr

admitted that she found no evidence that Mr. Koerber submitted anything to the Oregon

Court of Appeals.

       The problems listed here explain the most likely reason Magistrate Judge Warner

could not tether his probable cause finding to this statute, or any other when he stated: “I

think [the March 2 receipt] may or may not have been back dated”, Ex. 1 at p. 163, and

this was “not an attempt per se to violate the law, but, in essence, an attempt to deceive,

which was, in fact, a potential violation. I don't know.” Id. at 161.

       The Supreme Court instructed long ago that probable cause finding must “be

grounded in facts within the knowledge” of the court so as to “make his faith reasonable.”

Kastenbaum, 263 U.S. 25, 28 (1923). Even looking at all the evidence, “the facts and

circumstances” considered must “warrant a man of prudence and caution in believing that

the offense has been committed.” Stacey v. Emery, 97 U.S. 642, 645 (1878).




                                                                          APPENDIX Page 9
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 56 of 84



                                          APPENDIX C

The Evidence Does Not Support a Probable Cause Finding for the Crime of Falsifying
Business Records. (O.R.S. § 165.080)

       This argument was not addressed at the May 31 hearing by the government and

was only casually included by reference in its written submission. No discussion of the

elements or the government’s theory was provided. The only statement that directly

addresses this alleged crime at all was that: “Mr. Koerber’s conduct also appears to

violate Oregon Revised Statute § 165.080 (Falsifying Business Records) and O.R.S.

33.015 (Contempt).” Doc. 584 at p. 5. There are several problems with any probable

cause finding for this purported crime.

       First, the business records statute at issue (O.R.S. § 165.080) does not apply to Mr.

Koerber’s circumstance, because the business records possibly at issue – 1) the March 2

receipt provided to Mr. Philpot; and, 2) the March 6 registration forms provided to the

Utah Department of Commerce – were activities done in Utah, by Mr. Koerber while he

was in Utah, and delivered to recipients in Utah. Thus, there is no basis for Oregon

jurisdiction. See State ex rel Circus Circus Reno, Inc., v. Pope, 317 Or. 151, 154-56, 854

P.2d 461 (1993). See also Kotera v. Daioh Intern, U.S.A. Corp., 179 Or. App 253, 40

P.3d 506 (2002).

       Second, even if Oregon had jurisdiction over these acts, Oregon law makes clear

that the documents (either the receipt or the business registration form with the Utah

Department of Commerce) are not the kinds of records covered by the Oregon statute.

See e.g. Tayler v. Hender, 116 Or. App. 142, 840 P.2d 1331 (1992). The related Oregon


                                                                        APPENDIX Page 10
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 57 of 84



statute defines business records as “any writing […] kept or maintained by an

enterprise[.]” O.R.S. Section 165.075(2). The March 2 receipt is not a record kept by

Corvus but was delivered to a customer, as part of a commercial transaction. Similarly,

the online form related to the Corvus business registration is not kept by Corvus, it is kept

by the Department of Commerce. As such, neither document, even if Oregon had

jurisdiction, falls within the statute. See Tayler, 116 Or. App. 142.

       Third, there is no allegation that anyone suffered actual harm by Mr. Koerber’s

receipt or business registration documents, this alone forecloses the applicability of the

statute according to established Oregon law. See Logan v. Tiegs, 2004 WL 2851949, No.

CV 03-435-BR, CV 03-470-BR.

       Fourth, for the factual reasons stated above, there is no evidence that the receipt on

March 2, 2019 is false, only speculation, and the Utah Department of Commerce policy

and instructions were followed by Mr. Koerber in good faith, showing that his answer of

March 6, 2019 as the date the new entity would start doing business was correct to the

best of his knowledge and belief.




                                                                         APPENDIX Page 11
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 58 of 84



                                           APPENDIX D

The Evidence Does Not Support a Probable Cause Finding for the Crime of Contempt.
(O.R.S. § 33.015)

       This argument was not addressed at the May 31 hearing by the government. No

discussion of the elements was provided in their written submission. The only statements

related to this purported crime have to do with allegations that the March 2, 2019 receipt

was false, and that the transaction between Corvus and Philpot, where Philpot contracted

for commercial delivery service was not an arm’s length transaction. There are several

problems with this argument, each prohibits a probable cause finding.

       First, the contempt statute defines the jurisdiction of the criminal offense of

contempt as limited to those activities that take place “in the presence of the court[.]”

O.R.S. § 33.015(2). Mr. Koerber was never in the presence of the Oregon circuit court

nor the Oregon Court of Appeals. Although the government argues that Mr. Koerber

provided the March 2 receipt to the Oregon Court of Appeals, the only evidence in the

record shows that he actually provided it to Mr. Philpot. Mr. Philpot then made a

certification in his notice of appeal and himself attached the receipt to the notice, which

he caused to be filed with the Court. Indeed, it was Mr. Philpot and he alone as an officer

of the court in Oregon, who decided that Corvus constituted delivery by a commercial

delivery service under the laws of Oregon. Thus, as an initial matter, even if there were

some deception involved – which no evidence establishes - Mr. Koerber cannot legally

fall within the jurisdictional parameters of the statute. Again, Ms. Carr testified at the

May 31 hearing that she possessed no evidence that Mr. Koerber “ever made any


                                                                          APPENDIX Page 12
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 59 of 84



representations to a court in Oregon.” See Ex. 1. at p. 51.

       Second, there was no representation made by anyone to the Oregon Court of

Appeals regarding the registration status of Corvus, or the relationship between Corvus

and Attorney J. Morgan Philpot. There was no representation made about the length or

history of Corvus's operations, and Mr. Koerber himself was not the one who delivered

the documents for Corvus. The only evidence provided shows that Mr. Koerber accepted

Mr. Philpot's payment, and gave him a March 2, 2019 receipt for the dispatch – which

promised a 3-day delivery to the three parties whose addresses appear on the receipt. Mr.

Philpot testified that the receipt was accurate.

       However, the government and Magistrate Judge Warner take the position that the

March 2 looks like an arms-length transaction. Left unspoken is an argument regarding

what is improper. There is no requirement in the Oregon statutes or in the Oregon rules

that require an arms-length transaction. But, on that point, the receipt accurately states

that it is from Corvus Administration and Management, LLC. When Mr. Philpot

provided this receipt to the Oregon Court of Appeals, he certified its accuracy. The

suspicion about an arms-length transaction being suggested by the receipt is speculation.

In substance, even the suspicion is not justified. Mr. Philpot is not an owner of Corvus.

Mr. Koerber is not an owner of JM Philpot Law. The fact that Mr. Philpot contracted

with Corvus for paralegal services and document delivery services is a fact – but to find

that his contract for both of these services from the same entity is somehow problematic;

or that these facts were not adequately reflected in a dispatch receipt sufficient to avoid

the crime of contempt, is an exaggeration unsupported by any reference to the law.

                                                                         APPENDIX Page 13
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 60 of 84



       The only legitimate arguments being advanced by the Peterkin law firm in Oregon

suggest that perhaps the Court of Appeals will find that Mr. Philpot’s choice to use

Corvus does not comply with the relevant statutes, or that Corvus was not a commercial

delivery service within the meaning of the relevant Oregon statute. But both of these

issues are far from legitimate grounds to allege criminal contempt.




                                                                       APPENDIX Page 14
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 61 of 84



                                          APPENDIX E

The United States v. Bundy criminal trial.

       Mr. Koerber has been recognized, by multiple highly experienced federal trial

attorneys, for his instrumental role in the United States v. Bundy trial in Oregon in 2016.

See Attorney Declarations attached here as Exhibit 5 (“Ex. 5”). Mr. Koerber formerly

began working on that case as a CJA paralegal for Attorney Lisa J. Ludwig, and also

worked for attorney’s Mike Arnold, Lissa Casey, J. Morgan Philpot, and Marcus R.

Mumford.

       Ms. Ludwig has provided a declaration, see Ex. 5, pp. 17-24, where she confirms

that District Court Judge Anna J. Brown personally approved Mr. Koerber’s involvement.

Ms. Ludwig also included three letters of reference that were submitted by Mr. Koerber

to Judge Brown. Id. Mr. Koerber’s resume that was also submitted to Judge Brown (by

Ms. Ludwig) is also attached hereto at Exhibit 6 (“Ex. 6”).

       It is beyond reasonable dispute that these documents show that Mr. Koerber

clearly identified himself to Judge Brown by his legal name Claud R. Koerber and also

referenced his well-known nickname, “Rick Koerber.” Id. This disclosure was made

upfront by Mr. Koerber, and these documents also demonstrate that Mr. Koerber

forthrightly disclosed to Judge Brown the status of this District of Utah criminal case and

its history. Id. Ms. Ludwig describes Mr. Koerber’s work on the Bundy case as

“voluminous and thorough” and has declared that Mr. Koerber was “committed to the

process of court proceedings” rendering “valuable assistance to the Bundy defense.” Id.

       Mr. Arnold has also provided a declaration, see Ex. 5, pp. 6-9, where he explains

                                                                        APPENDIX Page 15
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 62 of 84



that he personally “worked very closely with Mr. Koerber on pre-trial, detention, and

strategic matters to prepare for trial.” Id. at p. 7. He characterizes Mr. Koerber’s paralegal

work as “associate attorney level research and drafting[.]” Id. Mr. Arnold also declares

that Mr. Koerber successfully worked with other defense attorneys and “was glue who

helped hold the various defense teams together” id., at p. 8, demonstrating “integrity” and

a strong “work ethic[.]” Id. According to Mr. Arnold, Mr. Koerber was open and

forthcoming in disclosing his own legal issues and the status of those charges against

him. Id. Significantly, Mr. Arnold also notes that he personally observed how Mr.

Koerber would perform his assignments to a higher standard because he knew that he

would be more strictly scrutinized due to the circumstances. Id. at pp. 8-9.

       Attorney Matt Schindler has also provided a declaration, see Ex. 5 at pp. 11-14.

Mr. Schindler has defended more than 225 criminal cases and was also a defense attorney

on the Bundy case. See id. Mr. Koerber did not work directly for Mr. Schindler but they

had multiple interactions and Mr. Schindler personally observed Mr. Koerber’s conduct

as part of the defense team. Mr. Schindler has declared that he knew of Mr. Koerber’s

background and the federal criminal case against him. See id. Mr. Schindler states that

Mr. Koerber’s “contributions to the successful defense of that case were significant and

real” and that he was “extremely impressed” by Mr. Koerber. Id. at p.13. Finally, Mr.

Schindler has stated that despite “his criminal history” if Mr. Koerber ever decides to

become an attorney Mr. Schindler would “fly out to Utah to recommend him to the State

Bar” because “it was that clear to me that he could be an excellent criminal defense

attorney.” Id., at pp. 13-14.

                                                                          APPENDIX Page 16
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 63 of 84



       Given these facts it is difficult to see how Mr. Koerber’s involvement in the Bundy

matter could support a dangerousness finding. The opposite is true. The fact that Mr.

Koerber has acquired this kind of reputation from competent and experienced attorneys

(as part of pursuing a new career path while defending this case) shows that Mr. Koerber

is a value to his community and has ample reason to obey the Court’s orders upon

release.

       Nevertheless, the government has continued to argue that an Order to Show Cause

that was filed post-trail in the Bundy matter (against attorney Marcus R. Mumford),

should convince the court that Mr. Koerber committed deception and is a danger.

       According to the government, the Order to Show Cause charges that Mumford

(not Mr. Koerber) added Mr. Koerber’s name to a joint defense witness list submission

but used the name Rick Koerber instead of Claud R. Koerber while doing so. According

to the government this is evidence of Mr. Koerber attempting to deceive Judge Brown in

that case. The Order to Show Cause also alleges, and the government argues here that

since Mr. Koerber had been in the courtroom during the entire trial he should not have

been added to the witness list. Both of these arguments are meritless.

       No witness statements have been presented to establish these allegations and

prosecutors have mischaracterized the circumstances. Specifically, prosecutors claim that

it was Judge Brown who filed the Order to Show Cause as soon as she learned of these

facts. However, it was not Judge Brown who filed the Order to Show Cause, and it was

filed well after the trial concluded. This is significant because Judge Brown knew first

hand who Mr. Koerber was at all times, and was quite aware of his presence in the

                                                                         APPENDIX Page 17
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 64 of 84



courtroom since she had approved it. See Exhibit 7. Evidence of this is included in the

same docket quoted by prosecutors who had selectively pulled out allegations but omitted

exculpatory evidence that shows the meritlessness of the argument.

       To help the Court quickly see the absence of merit to the prosecutor’s argument,

Mr. Koerber has attached several additional documents from the Oregon proceeding as

Exhibit 7 (“Ex. 7). The first document is a selection of Mr. Mumford’s response to the

Order to Show Cause explaining his answer to these allegations which lead to the

resolution of the matter without action by the Oregon Court. See Ex. 7 at pp. 2-18. In Mr.

Mumford’s response he also cites transcripts from the actual proceedings where Judge

Brown repeatedly acknowledges that she was aware of who Mr. Koerber was, and his

presence in the courtroom.

       The second document attached is a September 1, 2016 email exchange between J.

Morgan Philpot and Judge Brown herself. See Ex. 7 at pp. 19-20. From this email the

Court can see quite clearly that Mr. Philpot asked Judge Brown directly for permission to

have Mr. Koerber in the courtroom during trial. In the email he identifies Mr. Koerber as

“Claud R. ‘Rick’ Koerber.” Ex. 7 at p. 19. This shows the lack of merit in the

government’s argument.

       Also attached is Judge Brown’s personal email response on September 1, where

she states “I don't have any objection to Mr. Koerber sitting [in the well of the

courtroom]” and “Mr. Koerber is certainly welcome to use that common defense team

space in the back of the well behind the rows of defense tables if that can be coordinated

with the rest of the Defendants.” Ex. 7 at p. 20.

                                                                         APPENDIX Page 18
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 65 of 84



       When it is clear that Judge Brown knew Mr. Koerber as “Claud R. Koerber” and

“Rick Koerber” when he first associated with the case, see Ex. 5 and Ex. 6, and several

months later she granted Mr. Philpot’s request for “Claud R. ‘Rick’ Koerber” there is no

reasonable argument that Judge Brown was deceived. The opposite it true. All available

evidence shows that Mr. Koerber and those working with him – including Judge Brown –

knew exactly who he was and what role he played as part of the defense team.

       Finally, to alleviate any possible doubt, the final document attached is an exchange

between lawyers, Judge Brown’s chambers, and the local county detention facility. See

Ex. 7 at pp. 21-23. In this exchange, Judge Brown’s clerk confirms that Mr. Koerber

(who is referenced both as Claud R. Koerber and by his birthname Claud R. Franklin)16 is

a member of the defense team. Id.


16
  Mr. Koerber provided copies of his Wyoming Birth Certificate at the May 31 hearing.
The long form original certificate shows Mr. Koerber’s birthname as Claud R. Franklin.
The short form birth certificate reflects Mr. Koerber’s name change to Claud R. Koerber
(after his adoption as a young child.) At the May 31 hearing, both the government and
Magistrate Judge Warner criticized Mr. Koerber’s use of both last names as somehow
abnormal or improper. Magistrate Judge Warner stated “most law-abiding people don’t
use a lot of different names. They just don’t.” Ex.1 at p. 162. Both the government and
Judge Warner appear tone deaf to the common difficulty facing children who are adopted
after birth and have multiple last names. Consider e.g. the well-known circumstance of
former President Barack H. Obama (who is also known by the last name “Soetoro” and
the nickname “Barry”.) At trial, the government’s only witness was forced to admit that
Mr. Koerber very publicly publishes the use of both the name Koerber and the name
Franklin to avoid any chance of the public being misled. See Ex. 1 at 41 (Also discussing
that Mr. Koerber uses his photograph on social media as well as his emails to help avoid
any confusion. As a matter of law, both the government and Magistrate Judge Warner
were in error to hold the position that a person’s use of family names, assumed names, or
nicknames is by itself suspicious conduct as far as the law is concerned. It is not. And any
impact this error had on Magistrate Judge Warner’s probable cause finding must be
corrected. See State v. Tinnin, 64 Utah 587, 232 P. 543, 544–45 (1925); Platt v. Locke, 11
Utah 2d 273, 278, 358 P.2d 95, 98 (1961).
                                                                        APPENDIX Page 19
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 66 of 84



       That prosecutors continue to advance this allegation of deception against Mr.

Koerber without any witnesses, and in light of these facts, shows the exaggeration and

meritlessness at issue. Further, prosecutors have had access to the same docket entries

and references to the same records, yet they have failed to investigate or failed to disclose

them in their effort to make these allegations against Mr. Koerber.

       No allegations were ever made by prosecutors or the court against Mr. Koerber in

the Oregon proceeding. There is no evidence from 2016 or since, that Mr. Koerber was

involved in any wrongdoing let alone illegal conduct in the Bundy matter. Finally, the

defense attorneys who worked with Mr. Koerber and participated in the filing of the

witness list have now provided declarations to this Court affirming Mr. Koerber’s

conduct and integrity.

       In making his finding of dangerousness Magistrate Judge Warner related the idea

that “where there is smoke, there is fire”, Ex. 1 at p. 160, but the smoke here is being

created by prosecutors. Clearly there is nothing close to fraud or financial danger at

issue with Mr. Koerber’s involvement in the Bundy matter. There is clearly no pecuniary

loss at issue in the scenario.

       One final declaration provided by another experienced trial attorney, in another

federal district, attorney Bret Whipple, offers a poignant endorsement of Mr. Koerber and

a warning about how others might unfairly attack his involvement.

       I was well aware before working with Mr. Koerber of the personal legal
       issues he faced in Utah and how a party opposed to my client might try and
       gain an unfair advantage by disparaging me and my client for our
       association with him. But, increasingly, I came to make an independent
       assessment of Mr. Koerber’s abilities and character. I regard him as one of

                                                                         APPENDIX Page 20
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 67 of 84



      the most intelligent and honest persons with whom I have been associated.

Ex. 5 at pp. 4-5. See also the Declaration of Maysoun Fletcher, Ex. 5 at p. 10 (declaring

that Ms. Fletcher observed that Mr. Koerber has “tremendous respect for the United

States Court.”)




                                                                       APPENDIX Page 21
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 68 of 84



                                         APPENDIX F

The Koerber v. Mismash landlord/tenant dispute in 2011.

       Eight years ago, a state court in Utah was asked to decide competing claims

between a landlord (Ms. Nancy Mismash) and her tenants (Mr. Koerber and his wife). In

this civil case there were no allegations of fraud or deception in the pleading by Ms.

Mismash. A copy of her pleading is attached hereto as part of Exhibit 8 (“Ex. 8”).

       The trial court originally granted Ms. Mismash summary judgment by default. In

that order, there is no allegation or finding of fraud or deception. Id. One of Mr.

Koerber’s arguments on appeal was that Ms. Mismash had unfairly obtained summary

judgement through the expedited proceedings of an unlawful detainer action without

serving a proper summons. Mr. Koerber ultimately prevailed with this argument in the

Utah Court of Appeals. Id.

       The government nevertheless includes this instance as a supposed example of Mr.

Koerber’s dangerousness. The evidence provided by the government is a double hearsay

account by an FBI agent of an interview with Ms. Mismash’s attorney. No witness

statements have been provided and the government has omitted any response to the fact

that there were no allegations of deception before the Utah court. Worse, the allegations

advanced by prosecutors at the May 31 hearing were that Mr. Koerber reportedly back

dated utility checks to avoid eviction and submitted property improvement receipts from

a contractor business that does not exist. See Ex. 1 at p. 157 (AUSA Clark: “Mr. Koerber

submitted a false invoice for contractor work on the home. The contractor did not exist

and the work had never been performed.”)

                                                                         APPENDIX Page 22
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 69 of 84



       These allegations were plainly false and if prosecutors had done even simple

research, they would have discovered that the Utah Department of Commerce has a

business registration for the contractor. This shows that the government’s proffer in May

31 was false. Mr. Koerber pointed this out in a prior filing, see Doc. 612 at page 38

(listing Utah Business Entity numbers 5334662-0142 and 8831548-0142). Mr. Koerber

also clarified what was argued before the Utah court. The receipts mentioned by

prosecutors were for deposits made, not work performed. Prosecutors have nevertheless

failed to correct their previously asserted false allegations. There is still no witness

statement, no evidence of pecuniary harm to Ms. Mismash based on any deception by Mr.

Koerber and nothing close to criminal activity. See Sellers, 89 S. Ct. at 36 (“The idea that

it would be “dangerous” in general to allow the applicant to be at large must … relate to

some kind of danger that so jeopardizes the public that the only way to protect against it

would be to keep the applicant in jail.”)

       To alleviate any concern that the Court might have about how Mr. Koerber

interacts with landlords, his current landlords Duane and Cathy Runyan (from 2014 –

present) have provided a declaration attached hereto as Exhibit 9 (“Ex. 9.”).

       The Court should not give any weight to these plainly exaggerated and false

allegations as part of a so-called pattern of deception. There is no conduct here, even if

the allegations were true, that is illegal. There is no evidence before the Court except

exculpatory evidence. Further, the fact that Mr. Koerber prevailed on appeal; without any

subsequent action from Ms. Mismash or the court, and that the government has failed to

correct the record regarding its prior false allegations, is sufficient to rebut any question

                                                                           APPENDIX Page 23
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 70 of 84



of dangerousness. Finally, the declaration from Duane and Cathy Runyan is the most

reliable evidence showing that for the last six years, Mr. Koerber and his wife have been

excellent tenants, and that Mr. Koerber is an active and valuable participant in his

community.




                                                                        APPENDIX Page 24
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 71 of 84



                                          APPENDIX G

The 2012 Real Property Mgmt. v. Koerber (Elwood) landlord/tenant dispute.

       Prosecutors also include another alleged dispute between Mr. Koerber and a

landlord from seven years ago. As support for these allegations prosecutors rely on a

double hearsay interview report from an FBI agent who interviewed Ms. Elwood.

Prosecutors claim that according to Ms. Elwood, when Mr. Koerber and his family

moved out of the home, there was allegedly $21,000 of damage to the property by pets

and holes in the walls. See Doc. 620 at p. 14. These allegations fall far short of criminal

conduct, or the kind of dangerousness required by the legal standard described above.

These allegations also fail to allege any deception whatsoever. Clearly, these allegations

cannot support the so-called “pattern of deception” found by Magistrate Judge Warner,

but do show the prosecutor’s pattern of exaggeration.

       Tellingly, prosecutors have once again shown a reckless disregard for the truth in

making these allegations. The public records available show that there was no claim for

$21,000 in damages, or anything close, in the plaintiffs pleading for this case. See

Attached Exhibit 10. Besides the last month’s rent, a total of $228.66 in non-contract

fees was allegedly owed by Mr. Koerber. See id. Further, contrary to the allegation that

Mr. Koerber damaged the property when asked to leave, the docket for the case shows

that the parties stipulated to a move out date and no extra charges. See id. The matter was

subsequently dismissed without any allegations remotely close to the government’s

argument. Here, there are no allegations of fraud, deception or dangerousness. Instead

prosecutors have converted a seven-year-old $228.66 landlord dispute into something the

                                                                         APPENDIX Page 25
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 72 of 84



government hopes will be more salacious. The Court should resist attributing any

significance to this supposed incident of wrongdoing by Mr. Koerber.

       Finally, as addressed above, Mr. Koerber’s current landlords clearly show that

there is no cause for concern by the Court related to Mr. Koerber’s current living

situation.




                                                                       APPENDIX Page 26
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 73 of 84



                                          APPENDIX H

The Fish v. Fish divorce proceeding in November 2014.

       This court proceeding involved a multiyear civil dispute between Mr. Koerber’s

wife (n/k/a Jewel Franklin) and her ex-husband Wesley Fish. The government

misidentifies the relevant proceeding as having taken place in 2015. However, the

proceeding at issue was a November 2014 hearing on competing Orders to Show Cause.

The court had approximately twenty pending instances of alleged contempt against Mr.

Fish and one alleged instance against Mrs. Franklin. The court held Mrs. Franklin in civil

contempt for failing to pay approximately $800.00 in reimbursement expenses.

       During the proceeding to which Mr. Koerber was not a party and had been

excluded from the courtroom as a witness, Mrs. Franklin’s attorney argued against a

finding of civil contempt because Mrs. Franklin believed that Mr. Koerber had sent the

required payment via electronic bill payment to Mr. Fish’s attorney, through a local credit

union. Mr. Koerber was called as a witness and testified that he had in fact sent the

electronic bill payment. Mr. Koerber produced screen shots from the credit union website

showing the payment, the payment date, and the payment ID number provided by the

credit union. In rebuttal, Mr. Fish’s attorney called her law firm’s bookkeeper who

testified that while a payment could have been sent the firm had not cashed any check.

The court found the bookkeeper’s testimony more relevant and Mr. Koerber’s testimony

less credible, establishing that the payment had not been completed.

       Mr. Koerber was never alleged to have testified falsely. The court did not rule that

Mr. Koerber testified falsely. No contempt proceeding, or anything of the sort, were

                                                                        APPENDIX Page 27
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 74 of 84



sought by the court or any other party against Mr. Koerber.

       There is clearly nothing unlawful that took place in this hearing. The government

points to no evidence that any misconduct took place. In fact, Mr. Koerber had no

financial obligation to Mr. Fish or to the court. Further, Mr. Fish suffered no pecuniary

harm because of any alleged deception and the proceeding amounts to nothing unusual in

the context of a long and contentious family law matter.

       The fact that this incident took place approximately five years ago, without any

subsequent complaint or action, by any party or by the court, undermines any

significance that prosecutors have tried to attach to this proceeding.

       Clearly, there is no evidence of financial fraud related to Mr. Koerber based on this

proceeding. Even if the allegations and all inferences were accepted as true there is no

support for a dangerousness finding. See Cook, 880 F.2d at 1161 (“Safety of the

community ‘refers to the danger that the defendant might engage in criminal activity to

the detriment of the community.’”)




                                                                         APPENDIX Page 28
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 75 of 84



                                          APPENDIX I

The Fryberger v. Edwards matter in Oregon.

       Besides the issues related to Fryberger v. Edwards already discussed in detail

above, Magistrate Judge Warner made additional findings related to claims alleged by the

Peterkin attorneys. However, it is now beyond reasonable dispute that several of the

claims made by the Peterkin attorneys (and relied on by Magistrate Judge Warner) were

patently false.

       For example, Magistrate Judge Warner found as part of his “dangerousness” ruling

that the Peterkin law firm “was not aware” that they were dealing with a “convicted

felon” when they interacted with Mr. Koerber. See Ex. 1 p. 162. But in the Oregon

proceeding it has now been conceded that Mr. Koerber ceased interactions with the

Peterkin law firm long before he was convicted. See attached Exhibit 11.

       It has also been conceded in the Oregon Court of Appeals proceeding that a lawyer

from the Peterkin Law firm, Ms. Danelle Lordi, knew who Mr. Koerber was, knew about

his involvement in the prior United States v. Bundy case and had researched Mr. Koerber

and Mr. Philpot on-line at the very beginning of the Fryberger v. Edwards case. Id.

       Ms. Lordi, it has also now been conceded, talked directly with one of Mr.

Koerber’s former employers and with Mr. Koerber himself, long before Mr. Koerber’s

trial and conviction and learned about Mr. Koerber’s background and history. Id.

       Magistrate Judge Warner also referenced, in making his findings, that the Peterkin

law firm “would not have shared certain discovery with him had they known his status.

But he didn’t disclose that to them.” Ex. 1 at p. 162. But, the Peterkin law firm never

                                                                        APPENDIX Page 29
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 76 of 84



produced even one page of discovery in the Fryberger v. Edwards matter. See Ex. 11. In

other words, probation officer Annie Carr, prosecutors, and Magistrate Judge Warner all

relied on the documents provided by Peterkin - without conducting any investigation –

and it is now undisputed that these allegations were false. Id.




                                                                     APPENDIX Page 30
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 77 of 84



                                          APPENDIX J

Mr. Koerber’s Release History.

       On June 19, 2009, after consideration of the statutory flight risk and

dangerousness factors, Mr. Koerber was originally released by Magistrate Judge Alba

under § 3142(c), with no objection from the government, and minimal conditions (no

financial restrictions).

       On December 12, 2009, following a superseding indictment, Mr. Koerber was

again arraigned and released by then-Magistrate Judge Nuffer under § 3142(c), without

objection from the government, and with the same minimal conditions.

       In September of 2011, following a second superseding indictment, Mr. Koerber

was again arraigned and released pursuant to § 3142(c) by Magistrate Judge Alba.

       When Mr. Koerber's case was initially dismissed with prejudice in August 2014,

District Judge Clark Waddoups ordered Mr. Koerber's release conditions under the Bail

Reform Act terminated and pending the government's appeal between September 2014

and re-indictment in January 2018, Mr. Koerber was free without conditions or

supervision – all without objection from the government.

       On January 17, 2017, Mr. Koerber was re-indicted, and in February 2017 he was

arraigned before Magistrate Judge Furse. After considering the circumstances and

required factors, and Mr. Koerber's history of prior compliance with release conditions

and no prior violations between June 2009 and February 2017, and with no objection

from the government, Magistrate Judge Furse ordered Mr. Koerber released on personal



                                                                        APPENDIX Page 31
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 78 of 84



recognizance pursuant to §3142(b), and again with minimal conditions that he surrender

any passport, and that he not violate any local, state or federal law.

       This Court made a ruling that it would not incarcerate Mr. Koerber pending appeal

in May 2018. See Doc. 380 at pp. 38, 40, 42.

       In September 2018, this Court released Mr. Koerber post-conviction pursuant to

18 U.S.C. § 3143.




                                                                         APPENDIX Page 32
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 79 of 84



                                          APPENDIX K

       3142(g) Factors

       The Court is wholly justified in assuring and granting Mr. Koerber’s release prior

to sentencing and during appeal by relying on 18 U.S.C. § 3142(g) factors. Regarding

the “nature and circumstances of the offense” for which Mr. Koerber has been convicted,

the conduct at issue is now more than a decade old. There is no allegation that Mr.

Koerber has continued any activity remotely close to the charged conduct, and there is no

allegation that Mr. Koerber has subsequently been involved with any kind of investment

activity.

       Regarding the “weight of the evidence”, Mr. Koerber was convicted. However,

multiple investor witnesses at trial testified that they were not deceived, and that they did

not lose money. Also, until recently the government has alleged up to 600 victims,

however it has recently conceded that it can only attempt to prove 35 or less for

sentencing purposes. The loss amount in question is also in dispute. Ultimately, the facts

and evidence in this case show that contrary to the government’s repeated attempt to

paint Mr. Koerber as the worst of the worst fraudsters, only a few witnesses claimed to

have been misled, and it was unrebutted that Mr. Koerber’s business did, inter alia,

acquire millions of dollars in real estate. Many witnesses also agreed that financial losses

were connected to the crash in the subsequent real estate and finance markets.

       In any event, while very serious, neither of these first two factors weigh

significantly for determining release under the present circumstances. Although there is a

conviction, Mr. Koerber was granted release pre- and post-trial without objection from

                                                                         APPENDIX Page 33
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 80 of 84



the government and without financial restrictions. This brings the other factors more

directly into light regarding the history and characteristics of Mr. Koerber, including what

he has done and has been doing over the last decade.

              1. Education and Work History:

       Mr. Koerber graduated from high school in 1991. Following high school, Mr.

Koerber obtained an Associate’s Degree from Casper College and later attended both the

University of Denver and Western Governor's University. Mr. Koerber worked as a

systems analyst for Xerox Corporation after college from 1994-1996, and from

approximately 1996 through 2011 was an entrepreneur. As discussed above, since 2011

Mr. Koerber has offered contract paralegal and litigation services to attorneys and law

firms. In doing so Mr. Koerber has built an excellent reputation for providing value to the

community. See Exhibits 5 and 12.

              2. Family & Community Life:

       Mr. Koerber is married. He has a strong and active relationship with his wife and

his eight children and four grandchildren. He is also currently the primary provider for

two of his children who are still minors, and also the primary caretaker for his terminally

ill mother, who also lives across the street from him and his family, in a small rural Utah

community. Mr. Koerber has also built strong relationships and is an asset in his local

community, and in his local church congregation where he regularly serves as a

volunteer. He is also a trusted friend and confidant.

              3. Financial Responsibility:



                                                                        APPENDIX Page 34
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 81 of 84



       Despite the financial failure of his prior businesses that is the subject of this case,

and during the 10-year history that this case has been pending, Mr. Koerber has not been

a financial burden on any government agency or third party for his temporal support or

the support of his family. Instead he has consistently been gainfully employed and the

sole income provider for his household. During the last 7 years, Mr. Koerber has worked

diligently to build a new career providing support services for attorneys. The attached

declarations from a broad selection of experienced attorneys and clients show that

Mr. Koerber has worked diligently, has built a good reputation, and in his work, he has

performed as a valuable asset to those he serves and to the legal community. See Ex. 5

and Ex. 12. This should weigh heavily in favor of granting Mr. Koerber’s release.

              4. History of No Flight Risk and History of No Danger to the Community:

       Mr. Koerber has never been considered a flight risk or danger to the community.

He was initially arraigned in the current prosecution, back on June 19, 2009. Since that

time, he has consistently appeared at each hearing and has timely responded to all

requests that he be present, including his self-surrender to the U.S. Marshal prior to the

revocation hearing on May 31, 2019. Over the last 10 years, Mr. Koerber has been

considered for release, and any potential flight risk and dangerousness has been evaluated

under the Bail Reform Act (18 U.S.C. § 3141 et seq.) on several prior occasions. During

the last 10 years, Mr. Koerber was never once violated while on release by his

supervising probation officer. Ex. 1 at 51:21. Since indictment, Mr. Koerber has never

attempted to abscond. Ex. 1 at 57:24. He has never been accused of using drugs or

alcohol inappropriately and has not previously been alleged or found to pose a danger to

                                                                           APPENDIX Page 35
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 82 of 84



anyone in the community. Ex. 1 at 58:2-3, 5-6. Mr. Koerber has no criminal history

besides this case. There is no allegation that he has been involved in any financial activity

involving investors, or in any investment transactions of any kind since 2009. This is

consistent with the reason Mr. Koerber has been on release since 2017 on his own

personal recognizance and for the last ten years with exceptionally minimal Bail Reform

Act conditions.




                                                                         APPENDIX Page 36
     Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 83 of 84



                                           APPENDIX L

       Previously Proposed Conditions of Release

       During his release, Mr. Koerber shall not have any management or executive level

responsibilities in any business. Within 5 days of being released from custody, Mr.

Koerber shall resign any and all managerial and/or executive level positions, including

for Corvus Administration and Management, LLC. Mr. Koerber shall present proof of

this resignation in compliance with this condition, to the U.S. Pretrial Services Office.

       During his release, Mr. Koerber shall not be a signer on any business bank or

business credit union account. Within 5 days of being released from custody, Mr. Koerber

shall remove his name from any such accounts, and shall present proof of compliance

with this condition, to the U.S. Pretrial Services Office.

   While on release, in financial transactions and in his employment, Mr. Koerber shall

use his legal name, Claud R. Koerber.

   While on release, Mr. Koerber shall maintain active employment and keep the U.S.

Pretrial Services Office updated as to any changes in his employment. To the extent that

Mr. Koerber continues to be employed by attorneys, Mr. Koerber shall not file any

documents with any court on the matters for which he is employed, and Mr. Koerber shall

not provide verifications of dates, or provide any certifications or authentications of

documents that will be filed with any court in any case for which he is employed. If there

is a need for an exception to this restriction, Mr. Koerber may request an exception 72

hours in advance, by writing an email to the Pretrial Services Office. The email shall

contain a description from his employer justifying the requested exception, and a

                                                                         APPENDIX Page 37
    Case 2:17-cr-00037-FB-PMW Document 629 Filed 09/25/19 Page 84 of 84



certification of good faith from his employer that the exception is reasonably required to

accomplish a valid legal objective. The U.S. Pretrial Services Office may, but is not

required to grant the exception, and any exception shall be in writing.

   While on release, Mr. Koerber shall provide a copy of the conditions of his release to

any employing attorney, and before commencing any work for any attorney or any law

firm, Mr. Koerber shall have the employing attorney sign an acknowledgment that he or

she has received and reviewed the conditions of release, and that he or she expressly

agrees to cooperate and ensure these conditions are followed. Further, from this point

forward while Mr. Koerber is on release, each employing attorney shall also sign an

acknowledgment, before Mr. Koerber commences any work for that attorney, that he or

she will independently and immediately report and detail to the Pretrial Services Office

(via email) any claim or complaint made by any person, if and when made, regarding Mr.

Koerber's personal conduct.




                                                                          APPENDIX Page 38
